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                           CURRICULUM VITAE: EMANUEL KAPELSOHN

PERSONAL DATA:                   Born:                Newark, NJ
                                 Marital Status:
                                 Address: 1636 N. Cedar Crest Blvd. #320, Allentown, PA 18104
                                 Telephone: 610-360-7053
                                 Email: peregrine@ptd.net

ACADEMIC DEGREES:                Yale University. B.A. cum laude. English Literature (1974)
                                  Activity: Varsity Heavyweight Crew (earned Varsity Letter)

                                 Harvard Law School. Juris Doctor (1977)
                                  Activity: Harvard Prison Legal Assistance Project

EMPLOYMENT:

     1985 -      President. The Peregrine Corporation. Design, evaluation and implementation of
                 training programs for police, security, and other armed personnel and civilians
                 throughout the United States and abroad, including use of force, firearms, defensive
                 tactics, executive protection, and specialized training; instructor and armorer training and
                 certification; consulting with regard to the selection of firearms and other equipment;
                 technical evaluation and consulting regarding design and function of firearms and related
                 products; security surveys and risk assessments; litigation consulting and expert witness
                 services; production of videotape training programs, written training materials, training
                 aids, product literature and warnings; writing articles for publication in law enforcement
                 and firearms periodicals.

     2009-10     Adjunct Instructor, Criminal Justice Department, Indiana University, Bloomington, IN.
                 Taught Senior Seminar, “Police Use of Force” (2009, 2010)

     2007 -      Attorney. Lesavoy Butz & Seitz LLC. Allentown, PA. Civil litigation, municipal law,
                 general practice, risk management. 2007 to present.

     2006-7      Associate. Lamm Rubenstone Lesavoy Butz & David LLC. Allentown, PA . Civil
                 litigation, municipal law, general practice.

     1994 -      Associate. Blank Rome LLP, Allentown, PA. Civil litigation, including state and federal
     2006        court practice. Bar admissions: Pennsylvania Supreme Court, Federal District Courts for
                 the Eastern and Middle Districts of Pennsylvania and the Northern District of New York.

     1982-5      Firearms Training Consultant (self-employed). Firearms instruction for police, security
                 and other armed personnel and civilians; consulting and expert witness services; writing
                 articles for publication in firearms periodicals.

     1984-5      Director of Security. Jasna Polana, Princeton, NJ. Private estate security, executive
                 protection and protection of valuables in transit. Responsibilities included hiring and
                 training armed security officers, scheduling, design and implementation of operational
                 procedures, supervision, planning of special operations, dealing with vendors of security
                 equipment and services, and interfacing with law enforcement and other public agencies.

     1979-83     Operative. The Spiesman Agency, New York, NY. Occasional part-time detective work
                 including surveillance, criminal and civil investigations, interviewing of witnesses,
                 process service, and bodyguarding.



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1977-82          Associate; Senior Associate. Friedman & Gass, P.C., 99 Park Avenue, New York, NY.
                 Commercial litigation, including trial and appellate practice in state and federal courts
                 throughout the United States for major domestic corporations. Bar admissions: New
                 York Supreme Court; Federal District Courts for the Southern and Eastern Districts of
                 New York, Western District of Pennsylvania, and District of Utah; U.S. Court of Appeals
                 for the 10th Circuit; U.S. Armed Services Board of Contract Appeals, Washington, D.C.


FIREARMS
TRAINING
QUALIFICATIONS: FBI-Certified Firearms Instructor
                Instructor, Burlington County (NJ) Police Academy (1986-1995)
                Instructor, Allentown (PA) Police Academy (1999-2007)
                Technical Editor, The Police Marksman Magazine (1987-1990)
                Contributing Editor, Special Weapons and Tactics Magazine (1983-1986)
                Editor, The Firearms Instructor (1994-1995)
                Editorial Committee, The Firearms Instructor (1988-94, 1996-97, 2001- 2002)

                           International Association of Law Enforcement Firearms Instructors (IALEFI)
                            Active Member (1984- ); Member, Board of Directors (1987- ); Third Vice
                            President (1991- 2011 ); Second Vice President (2012-2015); First Vice-
                            President (2015- )Chairman, Firearms Training Criteria Committee (1995-
                            2016 ); Chairman, Corporate Sponsorship Committee (1987-1990); Chairman,
                            Instructor Certification Committee (1988-1990); Chairman, Safety Committee
                            (1995- 2003); Member, Safety Committee (2003- ); Member, Legal
                            Committee (1987-1999); Chairman, Legal Committee (1999- ); Chairman,
                            Editorial Committee (1994-1995); Member, Editorial Committee (1988-1994,
                            1996-1997; 2001-2003); Chairman, Firearms Training Standards Subcommittee
                            (1992-95); Member, Instructor Criteria Committee (1996- ); Member, By-
                            Laws Committee (1999-2002; 2016- ); Member, Ethics Committee (2003- ).
                            Principal Author or Associate Editor of several IALEFI publications – see
                            below. Originator, IALEFI Handgun Safety Check. Designer, IALEFI Q target
                            series. Member, Instructor Certification Committee (2010 - 2011). Chairman,
                            Instructor Criteria Committee (2020 -     ).

                           Member, National Advisory Board, Police Marksman Association (1986-2006)
                           Special Police Officer, Lawrence Twp. Police Department (1986)
                           Reserve Deputy Sheriff, Cleveland County Sheriff’s Office (1988-1991)
                           Reserve Lieutenant, Albee-Maple Grove Police Department (1989-1990)
                           Special Deputy Sheriff, Salt Lake County Sheriff’s Office (1992-2006)
                           Special Deputy Sheriff, Berks County (PA) Sheriff’s Department (1997- )
                           Reserve Deputy Sheriff, Greene County (IN) Sheriff’s Reserve (June 2008-2012)
                           Staff Instructor in Pistol, Shotgun, and Rifle at the American Pistol Institute
                            (Col. Jeff Cooper, Director) (1980-1982)
                           Senior Affiliate Instructor, Defense Training International (John S. Farnam,
                            President); DTI Instructor Update (2020)
                           Instructor, Executive Security International (Aspen, Colorado 1986-1988)
                           NJ Police Training Commission-Certified Firearms Instructor
                           Pennsylvania Municipal Police Officers Education & Training Commission -
                            Certified Instructor (MPI # 1360, General Instruction, Special Instruction -

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                            Firearms, Application of Force)
                           NRA-Certified Police Firearms Instructor
                           NRA-Certified Security Firearms Instructor
                           NRA-Certified Law Enforcement Rifle Instructor
                           NRA-Certified Practical Firearms Instructor (Personal Protection)
                           NRA-Certified Pistol Instructor
                           NRA- Certified Rifle Instructor
                           NRA-Certified Shotgun Instructor
                           NRA-Certified Law Enforcement Submachine Gun Instructor
                           NRA-Certified Home Firearms Responsibility Instructor
                           NRA-Certified Police Tactical Firearms Instructor
                           NRA-Certified Chief Range Safety Officer
                           NRA-Certified Police Precision Rifle Instructor
                           H&K-Certified MP-5 User
                           H&K-Certified MP-5 Instructor
                           SIG Pistol Armorer
                           Glock Pistol Armorer
                           Glock Pistol Armorer Trainer
                           Mossberg Shotgun Armorer
                           Mossberg Shotgun Armorer Trainer. Developed and presented armorer training
                             programs for O.F. Mossberg & Sons, Inc. for Models 500, 590 and 590DA
                             shotguns, including consulting on revisions of Armorer’s Manual and
                             development of related training materials including student handouts, written
                             and practical examinations, visual aids, etc. Trained other Armorer-Instructors
                             for Mossberg.
                           Colt Rifle and Submachine Gun Armorer
                           NLETC-Certified Lindell Handgun Retention Systems Intermediate Trainer
                           Glock Authorized Transitional Training Consultant. Designed and taught
                             armorers and firearms instructor courses on a contract basis for Glock, Inc.
                             from approximately 1987 through 1993, including development of instructor
                             notebook and related materials, student handouts, written tests, qualification
                             standards, visual aids, etc. (See below for specific course dates and locations.)
                           Justice System Training Assoc.-Certified Psycho-Motor Skill Design Instructor
                           Certified Police Defensive Tactics Instructor
                           Firearms Instructor and Safety Officer, U.S. Treasury Department Pistol
                            Club, New York, NY (1980-83)
                           “A” Class IPSC Pistol Competitor
                           Executive Protection Specialist License (State of Colorado)
                           Certified Agent, Pennsylvania Lethal Weapons Act (Act 235)
                           Certified ASP Baton Instructor
                           OCAT-Certified Pepper-Spray Instructor
                           Certified FATS Instructor Trainer
                           NTOA - Certified Less Lethal Impact Munitions Instructor
                           Taser Master Instructor
                           Light Rifle Expert (NRA Rating)
                           Smallbore Rifle Expert (NRA Rating)
                           General Rifle Expert (API Rating)
                           Pistol Expert (NRA and API Ratings)
                           Revolver Expert (NRA Rating)


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                           Handgun Distinguished Expert (NRA Rating)
                           Shotgun Expert (NRA and API Ratings)
                           Submachine Gun Expert (NRA Rating)
                           Federal Firearms Licensee and Class III Licensee
                           Designer and copyright holder, IALEFI-Q, IALEFI-QP, IALEFI-QR and
                           derivative targets (millions used by numerous law enforcement agencies, and
                           academies nationwide; used worldwide by U.S. Marine Corps Security Detail –
                           U.S. Embassy security; Wyoming Law Enforcement Academy target; Wisconsin
                           DOJ training target; Commonwealth of Massachusetts Training Target, et al.)

                           Testified regarding firearms before the United States Senate Judiciary
                            Committee (Subcommittee on the Constitution), United States House of
                            Representatives Judiciary Committee (Subcommittee on Crime), New York
                            City Council, New Jersey Assembly Committee on Law and Public Safety,
                            Massachusetts General Assembly Committee on Law and Public Safety, and
                            Florida Legislature Committee on Law and Public Safety, California DOJ

                           Selected by Citizen Ambassador Program as Delegation Leader for American
                            Law Enforcement Firearms Instructors Exchange Program to China, planned
                            for Spring 1988 (trip did not occur).

                           Consultant to Sturm, Ruger & Co. regarding law enforcement firearms and
                            development of law enforcement firearms training programs. Presented several
                            demonstrations and familiarization courses with Ruger service pistols at police
                            academies and agencies in Canada, including RCMP Academy, Regina, Canada

                           Consultant to Springfield Armory regarding development of self-defense
                            handguns for the civilian consumers.

                           Boy Scouts of America, Merit Badge Counselor for Rifle and Shotgun
                           New York State IPSC Championships (1979): 5th place overall
                           Second Chance Competition (Central Lake, Michigan 1983): Shot pump-action
                            shotgun on 3-man team that place high nationally, winning rifles.
                           National Tactical Invitational, Harrisburg, PA (1992): 7th place overall
                           National Tactical Invitational, Harrisburg, PA (1993): 4th place overall
                           IALEFI Stephen House Memorial Match, Reno, NV (1993): 6th place overall
                           IALEFI Stephen House Memorial Match, Amarillo, TX (1994): 11th place o/a

                           As a firearms instructor and/or consultant in training and use of force, or as a
                            sworn, armed reserve deputy sheriff or special deputy, have spent many
                            hundreds of hours accompanying police and security officers and/or engaging
                            in patrol and enforcement activities throughout the United States and several
                            foreign countries, in activities including routine patrol, traffic enforcement,
                            armored transport, security of facilities and protection of persons and valuables,
                            vehicular and foot pursuits, K-9 searches, response to crimes in progress, raids
                            and warrant service, arrests, response to shootings and other violent events,
                            arrests at gunpoint, searches of vehicles and persons, response to threatened
                            suicides, alarm response, prisoner transports, road blocks and checkpoints,
                            domestic disturbances, barricaded gunman, mentally ill or emotionally disturbed


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                            persons, response to vehicle accidents, traffic control, policing public events.

                           Qualified as expert witness by state courts in Connecticut, New York, New
                            Jersey, Pennsylvania, Maryland, Delaware, Tennessee, Georgia, Florida,
                            Louisiana, Arizona, Wisconsin, Minnesota, Michigan, Ohio, Illinois, Iowa and
                            California, and federal courts in Connecticut, California, New York, New
                            Jersey, Pennsylvania, Tennessee, Florida, Louisiana, Maryland, Illinois,
                            Arkansas and Oregon; consulted and testified on subjects including firearms,
                            firearms training, safety, use, functioning, operability, maintenance and design;
                            inspection and testing of firearms; holster design and weapon retention; firearms
                            accidents; involuntary muscular contraction and unintentional discharge of
                            firearms; physiological and perceptual/psychological effects of gunfight stress
                            (“adrenalin dump,” “fight or flight syndrome” or “body alarm reaction”)
                            including tunnel vision, auditory exclusion, time distortion, tachypsychia,
                            schema; distinguishing toy guns, airguns and other objects from firearms;
                            firearms-related tactics and police procedures; covering of suspects at gunpoint;
                            defensive tactics; use of force in correctional facilities; training psychomotor
                            skills; gunfight statistics and conditions; written training and use materials,
                            including warnings and user’s manuals; ammunition and ballistics, including
                            bullet trajectories, trajectories through glass; ricochets, bullet penetration and
                            expansion, gunshot wound ballistics, ability of individuals to continue physical
                            activity after being shot; behavior of projectiles upon striking steel and other
                            surfaces, cartridge pressures, cartridge case ejection patterns, muzzle flash, and
                            gunshot noise; reaction time and action vs. reaction; time for suspect to turn his
                            body compared to time required for officer to fire shot (“suspects shot in
                            back”); threat level assessment and justification for use of deadly and non-
                            deadly force; furtive movements, police pursuits and use of force during police
                            pursuits; tactics; arrest procedures; firearms history and development; firearms
                            recoil; firearms toolmarks; non-powder guns; vision, threat assessment and
                            shooting under reduced light conditions; performance of human eye when
                            aiming and firing firearms; concealability of firearms; firing range design,
                            safety and maintenance; paintball and other non-powder guns; ammunition
                            reloading and inspection; home storage of firearms; so-called “Saturday Night
                            Specials,” knife threats; use of “OC” (pepper spray); Taser; speed of firing
                            shots; “21 Foot Rule” and time to cover distances; action vs. reaction,
                            reconstruction of shooting scenes; muzzle to target proximity; powder stippling
                            and other close-range ballistic effects; video evidence, improvised impact
                            weapons, etc.

                           Clients and parties on behalf of whom cases have been undertaken have included
                           the U.S. Department of Justice, Department of Energy, and Drug Enforcement
                           Administration; Judge Advocate General Corps; Attorney General’s Offices of
                           Pennsylvania, Wyoming, South Dakota, and Louisiana; Atlantic County (NJ)
                           Prosecutor’s Office; Monroe County (PA) District Attorney’s Office;
                           Cumberland County (PA) and Centre County (PA) District Attorney’s Offices;
                           Kenosha County (WI) District Attorney’s Office; State of Georgia (Atlanta
                           Judicial District); Cities of Pittsburgh (PA), Newark (NJ), Bridgeport (CT), Egg
                           Harbor City (NJ); Town of East Haven (CT); Chicago; New York; San Diego
                           (City and County); Jacksonville; Nashville; Milwaukee; Public Defender’s


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                           Offices of Monroe County, Clarion County and Lycoming County (PA); State’s
                           Attorney’s Office in Devil’s Lake (ND); State of Delaware Public Defender’s
                           Office; Delaware Department of Justice; Bianchi International; Safariland, Inc.;
                           Glock, Inc., O. F. Mossberg & Sons, Para-Ordnance Mfg, Inc., SigArms, Inc.;
                           Remington Arms; private attorneys representing defendants in criminal and
                           administrative proceedings, and private attorneys representing plaintiffs and
                           defendants in civil cases.

                           Advisory Board Member, Firearm Injury Research Project (national research
                            project conducted through FICAP at University of Pennsylvania) 2001-2005
                           Member, Firearms Section (formerly Firearms Committee), American
                            Society of Law Enforcement Trainers (2000-2003)
                           Consultant to Pennsylvania Municipal Police Officers Education and
                            Training Commission (pro bono) on development of new firearms and
                            use of force curriculum for use at police academies throughout the state;
                            revision of firearms and use of force curriculum in 2015 after 14 years of
                            statewide use; development of use of force mandatory in-service training
                            program (2015), including pilot program and instructor-training program.
                           Consultant to Allentown Jewish Community Center on security issues
                            (pro bono, 1998-2000)
                           Consultant to The Swain School, Allentown, PA, on school security issues
                            (pro bono, 1999-2003)
                           Consultant to Faith Church, Trexlertown, PA on security issues (pro bono, 2017-)
                           Para-Ordnance Armorer-Trainer and Instructor-Trainer. Under contract with
                            Para-Ordnance Mfg. Co., developed and presented armorer and instructor
                             training programs.
                           Kimber Pistol Armorer-Trainer and Instructor-Trainer. Under contract with the
                            City of Tacoma, and as authorized by Kimber Mfg. Co., developed and
                            presented law enforcement armorer and instructor training programs, including
                            writing armorer notebook, instructor notebook, and related materials.
                           Hunter since age 10: varmints and small game (New Jersey, Pennsylvania,
                            Indiana); deer (New York, New Hampshire, Pennsylvania, Alabama, Louisiana,
                            Indiana); pheasant and partridge (Pennsylvania, New Jersey); ducks Louisiana);
                            dove (Pennsylvania); woodcock (Connecticut); wild boar (NH, TX, OH).
                           Handloader and reloader of ammunition, including bullet casting (1978 - )
                           Oregon Department of Public Safety Standards & Training – Certified Firearms
                            Instructor (2002)
                           Commonwealth of Pennsylvania, Municipal Police Officers Education &
                            Training Commission, subject matter expert - member of standing Firearms
                            Committee developing guidelines, policy and standards on firearms issues;
                            member of committee developing state-wide standards for police patrol rifle
                            (2003 - )
                           Good Shepherd Hospital Charity Sporting Clays Tournament (2002, 2004, 2005)
                           Consultant to City of Easton regarding Easton Police Department firearms
                            training, policies and procedures, and Easton SWAT Team (2005).
                           Certified Benelli Shotgun Armorer (2006)
                           Chairman, Firearms Committee, Berks County Sheriff’s Department. Chaired
                            departmental committee hearings, making determinations with regard to
                            intentional and accidental shootings.


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                           Consultant to Lehigh County Municipal Emergency Response Team (“MERT”)
                             regarding use of force policies (2006-2007).
                           Consultant to California U. of Pennsylvania re. firearms and use of force policy
                           U.S. Department of Justice: included on list of attorneys selected to provide
                             emergency interim legal representation of federal agents involved in shootings
                            (2000- ).
                           Invited by Chinese government to travel to China to teach police firearms
                             instructors (2010; declined invitation)
                           “Governor’s Award,” Indiana Police Firearms Training Association (2010)
                           Recipient, 2012 IALEFI “Charlie Smith Award” (“In recognition of your tireless
                             efforts and unwavering loyalty to the goals, ideals, and members of our
                             organization.”)
                           Appointed to Advisory Board, Armed Citizens Legal Defense Network (2012)
                           Consultant to PA MPOETC in revision of police academy curriculum (2014-15),
                           and development of Mandatory In-Service “Use of Force” program taught to
                           25,000 police officers statewide, including teaching of pilot program and
                           conducting instructor-training program.
                           FASTER-certified Intervention Specialist (Chris Cerino and Andrew Blubaugh,
                             Instructors, Rittman, Ohio 2018)
                           Rangemaster-certified Firearms Instructor (Tom Givens, Instructor, Xenia, Ohio
                             2018)
                           Advanced Force Science Specialist, Force Science Institute (2018) (see below)
                           UTM Professional Training Organization (“PTO”) certification
                           Realistic De-Escalation Instructor, Force Science Institute (2021) (see below)

TRAINING
COURSES
ATTENDED:
                           API Basic Pistol Course (1979): Expert rating; finished second in class
                           API Special Pistol Course (1980): Expert rating; finished first in class
                           API Defensive Shotgun Course (1981): Expert rating; finished second in class.
                           API Rifle Course (1983): Expert rating; finished third in class.
                           American Small Arms Academy, Submachine gun tutorial, Chuck Taylor (1981)
                           Police Marksman Association Police Officer Advanced Street Survival Seminar
                            (Instructors Massad Ayoob, Ray Chapman, Jim Morell, et al., 1983): Certif.
                           Defense Training International, Defensive Handgun/Defensive Submachine Gun
                            (1983): Certificate
                           Red Cross First Aid Course (1984): Certificate
                           Red Cross CPR Course (1984): Certificate
                           Red Cross CPR Course (1991): Certificate
                           New Jersey Hunter Safety Courses (1966, 1967, 1968): Certificates
                           NRA Security Firearms Instructor School (FBI Academy, Quantico, VA 1984):
                            Pistol Expert, Revolver Expert, and Shotgun Expert: Certificates
                           Law Enforcement Training - Survival 3 Seminar (1984): Certificate
                           International Police Academy - Morell-Trained Instructors Seminar
                            (Instructors Jim Morell and John Desmedt, 1984): Certificates of Training
                            in Principles of Control and in Advanced Instructor Training
                           BSR Counter-Terrorist Driving School (Summit Point Raceway, West Virginia,
                            1984): Certificate


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                           International Police Academy - Defensive Tactics Instructor Level 1
                            (Sampson Technical College, Clinton, NC 1984): Certificate
                           FBI Firearms Instructors Course (Burlington County Police Academy, 1985):
                            Certificate
                           International Police Academy - Master Instructors Seminar (Instructors Morell,
                            Desmedt, et al., 1985): Certificate and Guest Instructor Award
                            1984 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Nashville, TN): Certificate
                           91st Annual Conference, International Association of Chiefs of Police
                            (Salt Lake City, UT 1984)
                           LAPD Ordnance Exposition (Los Angeles 1984): Seminars on Handgun
                            Survival; Firearms Evidence; Officer-Involved Shooting Incidents: Certificates
                           ESI Advanced Executive Protection Program (Aspen, CO 1985): Certificate
                            and State of Colorado Executive Protection Specialist License
                           1985 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Philadelphia, Police Academy): Certificate.
                            Presented instructor-level class on close-range shooting techniques
                           U.S. Marshal Service Automatic Weapons and Officer Survival Course
                            (North Carolina 1985): Certificate
                           Tactical Response Association Ordnance Exposition (Las Vegas, 1986):
                            Attended seminars on Rapelling SAS Method, Shooting Simulation Response
                            Course, Satanic Cults and Crimes, Terrorism Perspective 1986, and
                            International Terrorism Symposium: Certificates
                           NRA Law Enforcement Rifle Instructor School (U.S. Marine Base, Quantico,
                            VA 1986): Scored 99.33% on firing test: Certificate
                           1986 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Orlando, FL): Certificate. Presented
                            instructor-level classes on Dim-Light Handgun Shooting; Police Shotgun
                           International Police Academy - Straight Baton Class (Instructor Jim Morell,
                            Allentown, PA 1986): Certificate
                           Department of Defense Tactical Team Training Seminar (ARDEC, 1986):
                            Certificate
                           Calibre Press Street Survival Seminar (Atlantic City, NJ 1986): Certificate
                           Tactical Response Association World Conference on Terrorism (Washington,
                            D.C. 1987): Attended seminars on GSG 9 Tactics, Hostage Negotiation, and
                            Making of SWAT Teams: Certificate
                           Glock Armorer’s Course (Beltsville, MD 1987): Certificate
                           Ordnance Expo ‘87 (Chicago, IL): Attended seminars on Vicarious Liability
                            for Law Enforcement/Psychological Screening of Officers; Indoor and Outdoor
                            Range Design; Tactical Load-Bearing Vests for Special Operations; and
                            Revolvers vs Semi-automatic Pistols
                           NLETC Lindell Handgun Retention System Course (1987): Intermediate
                            Trainer Certification
                           1987 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Mesa, AZ): Certificate. Presented
                            instructor-level classes on tactical use of cover.
                           NRA Law Enforcement Semi-Automatic Pistol Seminar (U.S. Marine Base,
                            Quantico, VA 1987). Attended and served as Chief Instructor for this course.


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                           NRA National Instructors Conference (Orlando, FL 1988): Attended sessions
                            on NRA Personal Protection Course and on Modern Rifle Training Techniques
                           Tactical Operations Seminar (Law Enforcement Defensive Systems. New Jersey
                            1988. Instructor Robert J. O’Brien): Certificate
                           AAI Corporation Law Enforcement Chemical Munitions Training Program
                            (New Jersey 1988): Certificate
                           Factory Tours and Visits: Colt Firearms (Hartford, CT); Smith & Wesson
                            (Springfield, MA); Mossberg (North Haven, CT); U.S. Repeating Arms
                            Co. (New Haven, CT); Sturm Ruger & Co. (New Hampshire and
                            Prescott, AZ); Winchester (East Alton, IL); Swartklip Munitions
                            (South Africa); Glock Gesmbh. (Austria); AV Technologies (Michigan);
                            Second Chance Body Armor (Michigan); Para-Ordnance (Toronto); Keystone
                            Sporting Arms (Milton, PA); Kimber Mfg. Co. (New York);
                            Mossberg/Maverick Arms (Eagle Pass, TX); Glock, Inc. (Smyrna, GA 1989,
                            2014 and subsequent); Gould & Goodrich Holsters (Lillington, NC) 2017.
                           SHOT Shows and NRA Annual Shows: attended various years 1984-2016 et seq.
                           Museums visited (arms and armor collections) include Winchester Gun Museum
                            (New Haven, CT), Museum of the Confederacy (Richmond, VA), Arms and
                            Armor Museum (Kutztown, PA), Metropolitan Museum Arms and Armor
                            Collection (New York, NY), National Firearms Museum (Fairfax, VA), U.S.
                            Marine Corps Museum (Quantico, VA 1987), West Point Museum (West Point,
                            NY), Pennsylvania State Police Weapons Collection (Hershey, PA), U.S.
                            Army Ordnance Museum (Aberdeen Proving Grounds, MD), Texas Rangers
                            Museum (San Antonio, TX), and private tour of Division Balistique,
                            Laboratoire de Police Scientifique at Police Headquarters, Paris, France
                            (ballistics laboratory and weapons collection); National Museum of the Marine
                            Corps (Quantico, VA 2008).
                           Visit to G.I.G.N. Headquarters to observe firearms training and facilities
                            (French Gendarmerie Counter-terrorist and Hostage Rescue Team), Versailles,
                            France (2008)
                           SIGARMS Law Enforcement Firearms Familiarization Course (October 1988):
                            Certificate
                           1988 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (St. Augustine, Florida): Certificate.
                            Presented instructor-level class on dim-light assault rifle and shotgun
                            techniques; moderated panel discussion on semi-auto pistol transition training.
                           Second International Training Seminar, American Society of Law Enforcement
                            Trainers (Kansas City, Missouri 1989): Certificate. Presented instructor-level
                            classes on draw and close-range handgun techniques; attended classes on
                            training female officers, straight baton techniques, maximization of revolver
                            skills, and teaching psychomotor skills
                           Wound Ballistics Seminar (Instructors Dr. Martin L. Fackler, M.D., et al.)
                            Phoenix, Arizona 1989): Certificate
                           1989 National Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Salt Lake City, Utah): Certificate.
                            Presented instructor-level class on dim-light assault rifle/shotgun techniques
                           NRA Law Enforcement Submachine Gun Instructor Development School
                            (Burlington County NJ Police Academy 1989): Certificate
                           H&K MP-5 Submachine Gun Course (Sterling, VA 1989): Certificate


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                           H&K MP-5 Instructor Course (Sterling, VA 1989): Certificate
                           SIG Pistol Armorer’s School (Richmond, VA 1990): Certificate
                           1990 Annual Training Conference, International Association of Law
                            Enforcement Firearms Instructors (Washington, D.C.): Certificate. Attended
                            courses on range control, use of cover, and shotgun. Presented instructor-level
                            classes on concealed carry handgun, auto-pistol transitional training, and dim-
                            light handgun and shotgun; participated in panel discussion of police handgun
                            caliber selection and effectiveness
                           IALEFI Regional Training Conference (Dutchess County, NY 1991): Presented
                            classes on cover mode and involuntary discharge; advanced shotgun
                            techniques. Attended classes on use of lethal force (Lt. James Garside) and
                            advanced auto-pistol techniques (S&W Academy Staff)
                           1991 Annual Training Conference, Internat’l Association of Law Enforcement
                            Firearms Instructors (Mesa, AZ): Certificate. Attended courses on concealed
                            carry, range training vs. real world, utilization of steel targets, Berkeley
                            shooting incident, wound ballistics (Fackler), perception vs. reality in use of
                            lethal force (Garside), and handgun inspection. Courses taught: see below
                           Police Long Rifle Certification Course, International Association of Chiefs
                            of Police (Ft. Dix, NJ 1991)
                           American Society of Law Enforcement Trainers Fifth International Training
                            Seminar (Milwaukee 1992): Certificate. Attended courses on wound
                            ballistics (Marshall), dealing with the hostile learner, principles of adult
                            learning. Courses taught: see below
                           IALEFI Regional Training Conference (Dutchess County, NY 1992): Attended
                            classes on bullet performance (Ayoob), semi-automatic police shotgun (Felter),
                            and tactical handgun (Hackathorn): Certificate. Courses taught: see below
                           IALEFI Regional Training Conference (Long Island, NY 1992): Attended
                            class on counter-sniper rifle: Certificate. Courses taught: see below
                           Ken Hackathorn Tactical Firearms Course (Pottsville, PA 1992) for handgun,
                            shotgun, and submachine gun: Certificate
                           1992 IALEFI Annual Training Conference (Tampa, FL): Certificate. Attended
                            courses on tactical handgun (Halleck/Odle); Close Quarters Firearms Control
                            Tactics (Klugiewicz); Reaction vs. Precision Shooting (Rogers); Tactical
                            Planning Principles/Cover Utilization (Casavant). Courses taught: see below
                           Police Counter-Sniper Rifle Course, Instructor Group, U.S. Army Marksmanship
                            Training Unit (Ft. Benning, GA 1992): Certificate
                           Real Life Personal Security Program (Dale Yeager, Instr. Pottstown, PA 1993)
                           1993 IALEFI Annual Training Conference (Reno, NV): Certificate. Attended
                            courses on Tactical Handgun (Campbell), Planning for Critical Incidents
                            (Cassavant), Gunfight Dynamics (Repass, et al.). Courses taught: see below
                           IALEFI Regional Training Conference (Nassau County, NY 1993): Certificate.
                            Attended classes on use of force continuum and perception (Garside);
                            realistic knife defense. Courses taught: see below.
                           Aerosol Chemical Restraint User Class (Wernersville Police Department, 1993):
                            Certificate
                           1994 IALEFI Annual Training Conference, Orlando, FL: Certificate. Attended
                            courses on Dynamic Teaching Techniques (R. Lindsey); Defensive Tactics
                            for Women (Sgt. Pam Miller). Coordinated safety for all training events.
                            Courses taught: see below


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                           Search & Rescue Tracking, Ashmore Enterprises (CT (1994): Certificate
                           Management of Workplace Violence, ASIS, Reading, PA (1994).
                           CPR and Emergency Cardiac Care Provider course, American Heart
                            Association, and Oxygen Therapy Emergency Response Training, SOS
                            Technologies (OTI authorized) (1995, recert. 1996, 1999)
                           Colt Armorer Course (Ct. 1995): Certificate
                           LFI-1: Judicious Use of Deadly Force (Lethal Force Institute, Massad
                            Ayoob, Instr. 1995): Certificate
                           1995 IALEFI ATC, Amarillo, TX: Certificate. Attended course on Law
                            Enforcement Officers Flying Armed (FAA approved course: Certificate)
                           OCAT Oleoresin Capsicum Aerosol Instructor Training, Harrisburg Area
                            Community College (1996): Certificate
                           Concealed Carry Handgun Course, Arizona Law Enforcement Firearms Instr.
                            Annual Training Conference, Mesa, AZ (1996): Mark Fricke, Instructor
                           NRA Law Enforcement Tactical Firearms Instructor School, U.S. Marine Base,
                            Quantico, VA (1996): Certificate
                           Urban Rifle Course, Thunder Ranch, TX (Clint Smith, Instr. 1996): Certificate
                           1996 IALEFI ATC, Mesa, AZ: Certificate. Attended courses on Weapon
                            Defense (Klugiewicz); Officer Survival (FBI). Coordinated safety for all
                            events. Courses taught: see below
                           Defensive Tactics/Personal Weapons Course, Paradigm Training (1997):
                            Certificate
                           FATS Instructor-Trainer Certification Course (MPOETC, Harrisburg, PA
                            1997): Certificate
                           1997 IALEFI ATC, Columbia, Missouri: Certificate. Attended courses on
                            Protective Detail Training (Wilt); Sharpening the Warrior’s Edge
                            (Bruce Siddle); Use of the Handgun In A Hostile Environment
                            (Spaulding); and The Bulletproof Mind (Lt. Col. Dave Grossman).
                            Coordinated safety for all events. Courses taught: see below
                           NTOA Tactical Technologies Expo (Philadelphia, 1998): Attended courses
                            on Domestic Terrorism, Less Lethal Projectiles, and U.S. Military’s
                            Warfighting Laboratory Project. Certificate
                           Security for Overseas Travel. Vance International, Reading, PA, 1998
                           NTOA Less Lethal Impact Munitions Instructor Course, Bucks County
                            Police Academy (1998): Certificate
                           Oleoresin Capsicum Aerosol User’s Course, Paradigm Consulting Corp.
                            (1998): Certificate
                           Monadnock Expandable/Straight Baton Advanced Course (Tim Lynch,
                            Instr.) 1998: Certificate
                           1998 IALEFI ATC, West Palm Beach, FL: Certificate. Attended courses on
                            Training Injuries and Deaths (Kat Kelly/Robert Bragg); Confined Space
                            Weapons Engagement (Slowik); The Bulletproof Mind (Lt. Col. D. Grossman)
                           Taser Master Instructor Course (Instructor Rick Smith. VA, 1999): Certificate
                           IALEFI RTC, Philadelphia Police Academy, PA (1999): Certificate. Attended
                            courses on Patrol Rifle Course Design; Practical Shotgun Skills; and Dim Light
                            Training Techniques
                           Pennsylvania Hunter Safety Course (1999): Certificate
                           1999 IALEFI ATC, Phoenix, AZ: Certificate. Attended courses on Innovative
                            Training on a Limited Budget; Mental Preparation for Armed Confrontations


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                            (Croty); Edged Weapons (Lynn Thompson); Instructor Development (Wilt);
                            and Recreation of Officer-Involved Shootings (Westrick)
                           2000 ASLET International Training Seminar, Richmond, VA: Certificate.
                            Attended courses on Patrol Rifle Training Programs; Building Search (contin.)
                            Tactics; Use of Deadly Force; Maximizing Time & Budget in Firearms
                            Training; Post-Shooting Procedures (Grassi); Backup & Contact/Cover
                            Principles; Firearm Retention & Disarming (Demetriou); Advanced
                            Firearms Instructor Training (FBI Training Cadre); Training Female
                            Shooters; Protocol for Major Use of Force Investigations (Michael
                            Stone, Esq.); Point Shooting (Lovette). Trained on use of force
                            simulators (FATS, Caswell AIS, American Laser Technologies)
                           IALEFI RTC, Philadelphia Police Academy (2000): attended courses on
                            Response to Active Shooters in Schools (L. Glick); Dim-Light Shotgun
                            Skills (Boyle). Courses taught: see below
                           Gunshot Wounds Seminar, Reading, PA 2000. J. Holliman, M.D., Instructor
                           2000 IALEFI ATC, Tampa, FL: Certificate. Attended courses on Urban
                            Rifle (Farnam), Ultimate Shotgun (Hoffner), Point Shooting (Chiodo and
                            Lovette), and Bulletproof Mind (Grossman). Coordinated safety for all
                            events. Courses taught: see below.
                           Patrol Response to Active Shooters in Schools and Public Buildings, NTOA
                            (Exeter Twp. Police Dept., PA, April 2001, L. Glick, Instructor): Certificate.
                           NRA Police Precision Rifle Instructor Development School. The Crucible,
                            Fredericksburg, VA (2001): certificate of successful completion
                           2001 IALEFI ATC, Reno, NV: Certificate. Attended courses on Gender-Based
                            Learning Differences (V. Farnam), Simulation Training and Munitions
                            (Klugiewicz). Assistant Safety Coordinator for all events. Courses taught: see
                            below.
                           Glock Armorer Course (Recertification): Wind Gap, PA (2002): Certificate
                           GAU/17 7.62mm NATO (“GE Mini-Gun”) Training, Patrick Air Force Base,
                            Melbourne, Florida (2002)
                           GAU/17 7.62 mm NATO Training, Crane Naval Surface Warfare Center,
                            (Crane Air Force Base) Indiana (2002)
                           2002 IALEFI ATC, San Diego, CA: Certificate. Attended course on Dim-Light
                            Survival Techniques (Ken Good, Instructor). Chief safety coordinator for all
                            events. Course taught: see below.
                           2003 IALEFI ATC, Orlando,FL: Certificate. Attended courses on Advanced
                            Tactical Rifle Techniques, Shoothouse Instructor Development, Rapid
                            Response to Active Shooters, Vehicle Stop Response Tactics, Stress Analysis
                            Shooting Situations, Mental Conditioning and Mindset (Capt. Joe Robinson),
                            and Blackhawk Down Lecture (Col. Danny McKnight). Attended trade show
                            and hands-on weapons demonstrations.
                           Price’s American Kenpo Karate Center. Leesport, PA. Student in Kenpo Karate
                            (2003-2004)
                           Threat Analysis Seminar, Reading, PA (2003): Certificate. Instructor Richard L.
                            Ault, Ph.D., Academy Group, Inc., former SA, FBI Behavioral Science Unit
                           Warrior Arts Seminar (Stick and Knife Fighting). Al McLuckie, Instructor.
                            Leesport, PA (2004).
                           ATF Dim Light Firearms Training. Los Angeles Police Academy. (2004)
                           Taser Master Instructor Recertif. Course. Fogelsville, PA (2004). Certificate


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                           2004 IALEFI ATC, Dayton, Ohio. Certificate. Attended classes on Performance
                            Under Stress (Ernest Langdon), Use of Laser Sighting Devices (Hackathorn),
                            Pistol Skills (D. Carroll), and presentation on training principles (CSM Eric
                            Haney). Assisted with Handgun Safety Check. Course taught: see below.
                           Berks County Sheriff’s Department, semi-annual training and qualification
                            sessions with handgun, shotgun and/or patrol rifle (1997-2004)
                           Disaster Planning: Meridian Bank Fire. ASIS Lehigh Valley Chapter. (2005)
                           SHOT Show (Las Vegas, 2005). Attended industry trade show.
                           2005 IALEFI ATC, Reno, Nevada. Certificate. Attended classes on Officer
                            Involved Shooting (Marcus Young); Research on Firearms Ejection Patterns,
                            Reaction Time, Perceptual Distortions Under Stress, and Other Physio-
                            Psychological Gunfight Reactions (Dr. Wm. Lewinsky); The Winning Mind
                            (Brian Willis); Innovative Low-Light Training; Finishing the Fight (Jeff Hall);
                            Use of Force Options & Policy (Jon Blum); Close-Range Point Shooting (Matt
                           Tempkin); Application of Marksmanship; Training at the Speed of Life
                            (Ken Murray). Course taught: see below.
                           Repetitive Strain Injuries (Somerset, NJ 2005)
                           Use of Force in Pennsylvania (Philadelphia 2006). 6 CLE credit hrs. Certificate
                           SHOT Show (Las Vegas, 2006). Attended industry trade show.
                           2006 IALEFI ATC, West Palm Beach, FL. Certificate. Attended classes on
                            Patrol Rifle, Survival Vision; Handgun Light Instructor, Cops on the 4th
                            Generation Warfare Battleground (DuVernay); Concealed Carry; Managing
                            Use of Force Training (Albert Lee); Mindsighting (Dr. Michael Asken).
                           Benelli Shotgun Armorer’s Course (West Paterson (NJ) Police Department 2006)
                           BATF Training Classes, “Characteristics of Armed Suspects,” “Firearms
                            Identification,” and “ATF Firearms Trace Program.” Alvernia College (2007)
                           SHOT Show (Orlando, FL 2007). Attended industry trade show.
                           Mastering the Defensive Folding Knife. Northeastern Tactical Schools. Michael
                            de Bethencourt, Instructor. (Hellertown, PA 2007) Certificate.
                           Firearm Retention, Disarming and Recovery. Northeastern Tactical Schools.
                            Michael de Bethencourt, Instructor. (Hellertown, PA 2007) Certificate.
                           CDT Personal Protection Training. (Reading, PA 2007) Level 1 Certificate.
                           2007 IALEFI ATC, San Antonio, TX. Certificate. Attended classes on Tactical
                            Anatomy (James Williams, MD), Patrol Rifle (D. Alwes), Close Quarters
                            Handgun Techniques (H. Iverson), Hojutsu-Ryu (J. Hall), Handgun Light
                            Instructor, Virtual Reality Training (Livefire Interactive), Legal Standard –
                            Objective Reasonableness (T. Harper, Esq.).
                           Seminar, “Police Involved Shootings – When the Smoke Clears.” Westchester
                            County Detectives Association (Yorktown Heights, NY 2007). Instructors
                            Michael Baden, MD (Chief Forensic Pathologist, NYSP), Thomas Martin
                            (Sr. Investigator, Forensic Ident.Unit, NYSP), ADA Michael Hughes
                            (Public Integrity Bureau, Westchester DA’s Office), Det. Michael Palladino,
                            and Emanuel Kapelsohn (see below). Certificate
                           SHOT Show (Las Vegas, 2008). Attended industry trade show. Attended
                            seminar on proper firearms retailing procedures to comply with legal and
                            regulatory requirements, and seminar on advances in, testing and selection of
                            OC aerosol devices.
                           2008 IALEFI ATC, Reno, NV. Certificate. Attended classes on Combat
                            Mindset, Response to Active Shooters (rifle and handgun), One-Shot


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                            Qualifications, Treatment of Medical Emergencies for Firearms Instructors,
                            Mental Preparation. Competed in Memorial Match. Classes taught-see below.
                           Indiana Pre-Basic Law Enf. Officers Course. 2008. Successfully completed.
                           Indiana Basic Firearms Course. Greene County Sheriff’s Department (2008).
                            Qualified with SIG P229 handgun (expert rating) and Remington 870 shotgun.
                           Indiana Basic Defensive Tactics Course. Greene County Sheriff’s Department
                            (2008). Successfully completed.
                           Response to Active Shooters. Greene County, IN (2008). Presented by Crane
                            Naval Surface Warfare Center. Successfully completed.
                           Shooting Scene Reconstruction Course, Eugene (OR) Police Department, 2008.
                            Mike Haag, Instructor. Certificate
                           2009 Conference, International Law Enforcement Educators & Trainers
                            Association (“ILEETA”), Chicago, IL. Attended courses: New Paradigms in
                            Firearms Training (Conti), Human Factors and Stress in Lethal Confrontations
                            (Darrell Ross, Ph.D., et al.), Active Shooter Update (Alwes), Taser Training
                            Overview/Update, Tracking Down Valid Firearms Training (G. Morrison,
                            Ph.D.), plus trade show and handgun competition. Taught course on use of
                            force policy (see below).
                           2009 IALEFI ATC, West Palm Beach, FL. Certificate. Attended industry trade
                            show; shot in IALEFI Memorial Match. Attended lectures and classes: Von
                            Maur Shooting; Firearms Training for Active Shooter Response; Law
                            Enforcement Legal Liability; Tactical Response to Lethal Threats (Allen & G.
                            Lee); Teaching Female Shooters; A Collaborative Approach (L. Hamblin, C.
                            Schroeder, et al.); Teaching Female Shooters; Expert Witness Preparation for
                            the Firearms Instructor; Benefits and Risks of Verbalization in Deadly Force
                            Encounters (G. Klugiewicz). Course taught: see below.
                           Tactical Treatment of Gunshot Wounds. Anthony M. Barrera, M.D. (Lebanon,
                            IN 2009. Certificate.)
                           Active Shooter Response. Greene County, IN (2009). Presented by personnel
                            from Crane NSWC.
                           Force Science Certification Course. Milwaukee County Sheriff’s Office,
                            Milwaukee, WI. Force Science Institute. Dr. Bill Lewinski, Dr. Anthony
                            Pinizzotto, Dr. Joan Vickers, Dr. Ed Geiselman, Dr. Alexis Artwohl, Dr.
                            Richard Schmidt, Dr. Matthew Sztajnkrycer (2009. Certificate.)
                           2010 Conference, International Law Enforcement Educators & Trainers
                            Association (“ILEETA”), Chicago, IL. Attended courses: Handgun Retention
                            and Disarm Instructor (certificate); Characteristics of Exceptional Trainers;
                            Critical Combative Concepts; Smart Use of Force; Heroic Cynicism – How to
                            Live Life in the Arena (Van Brocklin); Stress in Law Enforcement (Artwohl);
                            In Pursuit of Personal Excellence (Brian Willis); Warriors, Force and Winning
                            (certificate). Attended law enforcement products trade show.
                           “The Bulletproof Mind,” Lt. Col. Dave Grossman. Boone County Sheriff’s
                            Department (2010)
                           2010 IALEFI Annual Training Conference, San Antonio, TX. Attended law
                            enforcement products trade show. Conducted Handgun Safety Check for 120
                            first-time attendees. Attended courses: Begged, Borrowed, Stolen; So You’re
                            Qualified – Now What?; Off-Duty Weapons (M. Boyle); Excited Delirium;
                            Diagnosing Shooters (A. Stallman). Course taught: see below. Certificate.
                           Indiana Hunter Education/Hunter Safety Course (2010). Passed, issued card.


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                           Police Defensive Tactics Refresher (2011). Greene County Sheriff’s Department
                           Emergency Vehicle Operations Course (2011). Greene County Sheriff’s Dept.
                           2012 SHOT Show, Las Vegas, NV. Attended trade show, and courses on Low
                            Light Equipment and Techniques (Instructor J. Meyer) and “Train the Trainer,
                            Below 100,” (Instructors Dale Stockton, et al.)
                           Terminal Ballistics & Field Trauma Care, Greene County Sheriff’s Dept. (2012)
                           2012 ILEETA Conference, Chicago, IL. Attended courses: Law
                            Enforcement/Media Relations; Taser Training & Updates; Range Emergencies;
                            Advanced Firearms Training on a Limited Budget; Police Use of Force Training
                            & Preparation (Chudwin); Deadly Force Training Performance & Officer
                            Safety; Designing Stress-Exposure Training; Swarming, Flash Mobs & the
                            OODA Loop; Verbal Defense & Influence (“Verbal Judo”) (Klugiewicz);
                            Street-Level Counter-Terrorism; Use of Force Accountability (Brave); Positive
                            Relations – Law Enforcement & Armed Citizens; Deadly Force Panel of
                            Experts (panelist). Also attended industry trade show.
                           2012 IALEFI Annual Training Conference, Nashville, TN. Attended courses:
                            Arrest and Control Tactics (Beckley); Simple Martial Art for Self-Defense
                            (Albert Lee); Patrol Rifle Basics; Sports Physiology Approach to Firearms
                            Training; Filling the Tank; Warriors & Leaders; Great American Gunfights.
                            Instructed: Firearms Instructor as Expert Witness. Also, attended industry
                            trade show and hands-on firearms demonstrations.
                           2013 IALEFI Annual Training Conference, Mobile, AL. Attended courses:
                            Confined Space Engagement (Farren); Vision-Based Shooting (Stimmell). Also
                            attended industry trade show. Courses taught: see below.
                           Glock Armorer’s Course, Old Bridge, NJ (2013).
                           Knife Defense/Knife Fighting Seminar, Hank Hayes, Instructor. No Lie Blades.
                            Allentown, PA (2013) (class audited only, due to injury)
                           2014 SHOT Show, Las Vegas, NV. Attended industry trade show.
                           2014 ILEETA Conference, Lombard, IL. Attended courses: Shots Fired,
                            Suspect Down (John Bostain); Critical Combative Concepts (Charles Humes);
                            Force Related Policies & Issues (Mike Brave); Critical Look at Firearms
                            Qualifications (David McGaha); Police Use of Force Tactics and Law
                            (Chudwin); Gunman in the Lobby, Officer Down (Joe Ferreira); Verbalization
                            Skills (Klugiewicz); Path to Self-Discovery (Bob Lindsey); Street Officer
                            Medical Tactics (Eric Dickinson); Embrace the Suck- Winning Strategies
                            For Trainers (Brian Willis); “Heroes Behind the Badge”; Deadly Force
                            Expert Panel (Ayoob, et al.); Choose Your Words Wisely (Joanne Ryan and
                            Thomas McGreal); Coaching Mental Toughness (Quinn Cunningham);
                            Sharpening the Winning Edge (Brian McKenna); Interactive Firearms Training
                            (Lt. Dan Marcou). Course taught: See below.
                           2014 IALEFI Annual Training Conference, Amarillo, TX. Attended courses:
                            Surviving the First Three Seconds (Tpr. Hensley); Extended Range Off-Duty
                            Handgun Operation (Michael Johnson); Vision-Based Shooting (Jim Stimmell);
                            Identifying the Limits of Firefight Performance; Threat Pattern Recognition
                            Firearms Training System (Bruce Siddle, Human Factor Research Group)
                            Classes Taught: see below.
                           NRA Personal Protection Outside the Home (2014): certificate
                           2015 SHOT Show, Las Vegas, NV. Attended industry trade show.
                           Glock factory tour and armorer-trainer update. Smyrna, GA (2015)


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                           Winning Mind Seminar, Dave Smith, Instr. ,PA State Police Academy (2015)
                           2015 ILEETA Conference, Wheeling, IL. Attended courses: Deadly Force Panel
                            of Experts (panelist, see below); Creating Training Miracles; Understanding
                            Response Time in Law Enforcement; Emergency Preparedness for Law
                            Enforcement Families; Ambush – Preparing Officers for the #1 Killer;
                            Defensive Knife (Halleck); Down to Zero – Unintentional Discharges in Law
                            Enforcement; Becoming Knights – Teaching Warrior Mindset; Mistake of Fact
                            Shootings (Santos); Use of Force Report Writing; Active Shooter Panel
                            Discussion (panelist, see below); Use of Force and Liability; Blended Learning;
                            Lifesaving Made Easy; Think Like a Soldier, Act Like a Cop
                           2015 IALEFI Annual Training Conference, West Palm Beach, FL. Attended
                            courses: Lecture on Leadership (Col. Danny McKnight); Current Issues for
                            Firearms Instructors (Alwes); Developing Courses of Fire (Marrs);
                            Contaminated Combat (Liske, audited only); Reflex Sights (Martello); Close
                            Quarter Transitions (Jeff Prather).
                           Gun Law Seminar, U.S. Law Shield, Allentown, PA (2015)
                           Tavor Level 1 Armorer’s Course, including 9mm Conversion and Right/Left
                             Hand Conversion. Harrisburg Area Community College. Certificate (2015).
                           FN15 Armorer Course, Berks County Prison, Leesport, PA (2015). Certificate.
                           IALEFI Regional Training Conference, Freeport Police Range, Long Island, NY
                             (2015). Certificate. Attended classes on Use of Force (Chief James Garside),
                             Lateral Vascular Neck Restraint (Thomas Graham); and Master Pistol Instructor
                             Skill Builder Class (Steve Gilcreast, Sig Sauer Academy).. Class taught: see
                             below.
                           2016 ILEETA Conference, Rosemont, IL. Attended courses: Deadly Force
                             Panel of Experts (panelist, see below); Active Shooter Panel Discussion; Use of
                             Force Panel Discussion; How to Survive and Win In An Ambush (Shaykhet);
                             Lights, Sights & Lasers (Wes Doss); Patrol Rifle (John Farnam); Responding to
                             the Officer-Involved Shooting (Burke, IMPD); Human Factors in Training and
                             Performance (John Bennett); Video Evidence (NV DPS); Guardians are
                             Warriors (Mahoney); Body Searches (Cpl. Julie Johnson); Black Lives Matter
                             (Ron Martinelli); Lessons From the Great Law Dogs in History (Lt. Dan
                             Marcou).
                           Video Evidence Class, Force Science Institute, Chicago, IL (2016, Certificate)
                           2016 IALEFI Annual Training Conference, Mobile, AL. Attended Courses:
                             Surviving the First Three Seconds (Tpr. Robert Robertson, NC Highway
                             Patrol); Active Shooter Training in the Shoothouse (Alwes); Handgun
                             Snatching (Albert Lee/Wilkie); ALERT Training - Civilian Response to Active
                             Shooter Events (Instructor Certificate). Course taught: see below.
                           Hojutsu-Ryu Class, Phillipsburg NJ and Easton PA, taught by Soke Jeff Hall.
                              Awarded brown belt (2016).
                           Colt .45/Model “O” (1911) Armorer Class, Colt’s Manufacturing Company,
                             Ohio Peace Officers Training Academy, London, Ohio (2016). Certificate
                           2017 SHOT Show, Las Vegas, NV. Attended industry trade show.
                           Improving Tactical Performance by Enhancing Vision, SHOT Show Law
                              Enforcement Education Program, Dr. Alan Reichow (2017)
                           Rangemaster Tactical Conference, Little Rock, AR (2017). Attended classes:
                             Between a Harsh Word and a Gun (OC, Chuck Haggard); Church Security
                             (Moses); Police-Citizen Contacts (Weems); Gun Accidents (J. Farnam); Just


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                             Enough Jitsu (Cecil Burch); Defining the Threat (T. Givens); Law of Self-
                             Defense (A. Branca); The Firearms Instructor as Expert Witness
                             (Ayoob/Hayes); Street Encounter Skills (Murphy).
                           2017 ILEETA Conference, St. Louis, MO. Attended courses: Deadly Force
                             Panel of Experts (panelist, see below); Patrol Rifle Panel (panelist, see below);
                             Tactical Duty Knife (Fletch Fuller); Six Myths of Motor Learning & How This
                             Affects Your Training (Robert Bragg); Proxemics-Based Curriculum
                             Development (Marie D’Amico); Facilitated After-Action Reviews (Joseph
                             Willis): Camera-Friendly Compliance & Control Techniques That Work
                             (Hetrick): “After Force Experience Beyond the Incident (Patrick Shaver); Pre-
                             Indicators of An Assault (Mark Sawa).
                           2017 IALEFI Annual Training Conference, West Palm Beach, FL. Attended
                             courses: The Pulse Nightclub Shooting; In-Extremis Advanced Tactical
                             Handgun (Wes Dobbs); Police Shotgun (Mike Johnson); Officer Survival
                             Mindset (Alex and Daniel Cobb); Bulletproof Mind (Lt. Col. Dave Grossman).
                             Also attended industry trade show and hands-on product demonstrations.
                           2018 SHOT Show, Las Vegas, NV. Attended industry trade show, including
                             Industry Day at the Range.
                           2018 ILEETA Annual Conference, St. Louis, MO. Attended trade show, and
                             courses: Active Shooter Panel (panelist); Deadly Force Expert Panel (panelist);
                             A Nearly Fatal Range Shooting (DuVernay); Recognizing & Responding to
                             Mental Illness; Terminal Ballistics (Ed Santos); Threat Pattern Recognition (Joe
                             Ferrera).
                           2018 IALEFI Annual Training Conference, Houston, TX. Attended trade show,
                             and courses: Aurora, Colorado Theater Shooting; Basic Patrol Rifle
                             Fundamentals (Pickering and French); Low Light Operations (J. Meyer);
                             IADLEST National Certification Program; Reactive v. Precision Shooting (T.
                             Fletcher); Officer Survival Mindset (Cobb); Dallas Sniper Incident & Mexican
                             Drug Cartels (ATF).
                           FASTER Course, Rittman, OH. Chris Cerino & Andrew Blubaugh, Instrs. (2018)
                           Rangemaster Firearms Instructor Development & Certification Course, Xenia,
                             Ohio, Tom Givens, Chief Instructor (2018)
                           Force Science Advanced Specialist Course, Force Science Institute, April-August
                             2018. Course syllabus included required reading in three textbooks (on human
                             movement, physical training and performance and reaction time; vision; and
                             human error) and dozens of scholarly articles and research papers, lectures by
                             several noted authors, doctors, scientists and professors; multiple oral and
                             written presentations; teleconference and in-person classes; and formal written
                             work, comprising in total several hundred hours of coursework at the graduate
                             school level.
                           2019 SHOT Show, Las Vegas, NV. Attended industry trade show, including
                             Industry Day at the Range.
                           “Police Misconduct” Continuing Legal Education Program (2/11/2019).
                           2019 NRA Convention, Indianapolis, IN. Attended industry trade show.
                           2019 IALEFI Annual Training Conference, West Palm Beach, FL: Attended
                            classes and presentations by Dr. William Lewinski (“Force Science Update”),
                            Don Alwes (“Active Shooter Response For Firearms Instructors”); Don Smith
                            (“Sniper Overwatch”); LouAnn Hamblin (“Active Shooter Handgun Training”).
                            Also attended industry trade show, helped conduct Handgun Safety Check, and


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                            helped conduct Memorial Match. Class taught: see below.
                           “Preparing for an Armed Intruder,” Eastern University, St. Davids, PA (2019)
                           American Heart Association “Heartsaver First Aid CPR AED” Training
                            Certification 12/8/2019
                           2020 SHOT Show, Las Vegas, NV. Attended industry trade show.
                           Active Shooter Response, Trexlertown, PA, March 2020. Thanos Milios, Lead
                            Instructor. Classroom and reality-based training scenarios using Simunitions
                            guns with role-players.
                           “Safely Engaging Psychopaths & Sociopaths,” Public Agency Training Council
                             Webinar, April 2020.
                           “Police Response to Armed Suicidal Subjects,” Dr. Andrew T. Young, Instructor,
                            Public Agency Training Council - Webinar, June 23, 2020
                           Defensive Handgun 1, 2, 3 & 4, Marksmanship Matters (Larry Mudgett
                            Instructor), Lehi, Utah, July 2020
                           Defensive Handgun and Patrol Rifle, Defense Training International, John
                           Farnam, Instructor. Sussex, NJ, October 2020.
                           Certificate, DTI Urban Rifle. Certificate, DTI
                            Instructor Update. (Assisted in instructing, see below.)
                           UTM Professional Training Organization (“PTO”) Certification Class.
                           Certificate (2020)
                           Glock Armorer’s Course – Update and Recertification (Smyrna, GA 2020)
                           IALEFI Virtual Training Conference, January 2021.
                           Metal-Tec Metal Detector Instructor Course. Certification 2021.
                           Principles of De-Escalation, Pennsylvania State Police (Sgt. Timothy Fetzer, Jan.
                           2021)
                           Realistic De-Escalation Instructor Course, Force Science Institute, Maplewood,
                            Minnesota. IADLEST-Certified Course, Certificate (2021)
                           “Officer-Involved Shootings: The Aftermath” (“I’ve Been In An Officer
                            Involved Shooting – Now What?” Instructor Laura Scarry, Esq. Webinar 2021
                            (Certificate)
                           Stop the Bleed Training, St. Luke’s Hospital, Easton, PA 2021 (Certificate)
                           ILEETA Annual Training Conference, St. Louis, MO (2021). The Neuroscience
                            of De-Escalation (Verplanck and Smarro, Instructors); Tactical Disadvantages
                            (Green); Risk Assessment (Horine); Small Unit Tactics for Active Shooter
                            Response (Scott Hyderkamp); Sharpening Your Agency’s Knife Program (Zane
                            Nickell); Surviving the Officer-Involved Shooting (Brian Gonzales); Robert
                            Peel’s Principles (Casavant); How to Use Personality Science to Enhance
                            Training (Kerry Mensior); What Excited Delirium is Not (Ellis Amdur);
                            Simulator Scenarios: Virtra, Milo, Ti Systems; Active Shooter Panel of
                            Experts (panelist and attendee); Deadly Force Panel of Experts (panelist
                            and attendee). Courses taught: see below.
                           Defensive Cane Course (“Introduction to Cane-Fu”), Powhatan, Virginia, Tom
                            Ashmore, Instructor. 2021 (Certificate)
                           IALEFI Annual Training Conference, Melbourne, FL. 2021 (Certificate)
                           “Legal Issues in Use of Force,” LLRMI (Legal & Liability Risk Management
                            Institute). Instructor: Jack Ryan, Esq. (2022)
                           IALEFI Annual Training Conference, Las Vegas, NV. 2022 (Certificate)
                            Attended classes on the Mandalay Bay Shooting (LVMPD); Single Officer
                            Vehicle Tactics (LVMPD); Unconventional Rifle Fighting Positions; FACES


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                            of Concealed Carry; NRA LE’s Creating a Red Dot Transition Program for
                            Your Agency; Special Purpose Rifle Program (LVMPD); Gunshot Wound
                            Trauma Care; Human Factors & Firearms Instructors (Sgt. Jamie Borden).
                           NRA Annual Conference, Houston, TX (2022). Attended industry trade show.
                            Attended seminars: Training for Concealed Carry: Focusing on Developing
                            Essential Skills (Jeff Gonzales); Evidence-Based Defensive Firearms
                            Training: A Discussion for Instructors and Those Who Actually Train (John
                            Correia).
                           Virtual Protecting Houses of Worship Forum, U.S. Department of Justice (2022)


PROFESSIONAL
ASSOCIATIONS
& MEMBERSHIPS:

                           American Bar Association (Member 1978-1997)
                           Association of the Bar of the City of New York (Member 1978-1998)
                           Pennsylvania Bar Association (Member 1994-2007, 2012-present)
                           Bar Association of Lehigh County (Member 1994-2007, 2012-present)
                           Pennsylvania Trial Lawyers Association (Member through 2004)
                           Association of Trial Lawyers of America (Member through 2004)
                           American Inns of Court (Member 2000-2007)
                           Barristers Inn, Allentown, PA (2012-present)
                           Muhlenberg College Board of Associates
                           National Rifle Association (Endowment Member)
                           International Association of Chiefs of Police (Associate Member 1985-1992)
                           International Association of Law Enforcement Firearms Instructors (see above)
                           Police Marksman Association (Member, Nat’l Advisory Board 1987-2004)
                           American Society for Industrial Security (Member)
                           Tactical Response Association (former Charter Member)
                           Justice System Training Association (former Member)
                           American Society of Law Enforcement Trainers (former Charter Member)
                           Outdoor Writers Association of America (Member 1987-1990)
                           U.S. Practical Shooting Association (former Member)
                           U.S. Revolver Association (Member 1983-1989)
                           Pennsylvania Chiefs of Police Association (former Associate Member)
                           Pennsylvania Sheriff’s Association (former Associate Member)
                           Appointed Senior Research Associate, Carnegie Mellon University Center
                            for the Advancement of Applied Ethics (1994)
                           Appointed to Advisory Board, AWARE (1995)
                           Appointed as Fellow, Defensive Handgun Training Institute (1996)
                           Appointed to Pennsylvania Municipal Police Officers Education and Training
                            Commission Committee to develop standards and curriculum for decision-
                            making training simulator/judgmental use of force mandatory in-service
                            training program (1997-98); Curriculum Development Committee for
                            revision of Act 120 Police Academy curriculum used statewide; patrol rifle
                            training standards (2004- ); revision of Act 120 Police Academy lesson
                            plans, training videos, and related materials used at all police academies in PA
                            (2015); and development of Mandatory In-Service Training Program on “Use


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                            of Force” (2015 development for 2016 presentation statewide) .
                           National Tactical Officers Association (former and current Member)
                           Associate Member, Fraternal Order of Police (Linton, Indiana Chapter 2008-12)
                           Member, International Law Enforcement Educators and Trainers Association
                           (2009 -     )
                           Member, Advisory Board, Armed Citizens Legal Defense Network (2012 - )
                           Member, Leadership Group, Safe Team, Faith Church, Trexlertown, PA (2017- )
                           Member, Security Committee, Temple Beth El, Allentown, PA (2019- )


SELECTED MEDIA REFERENCES
AND ACKNOWLEDGMENTS:

                           EMANUEL KAPELSOHN interviewed, mentioned and pictured in THE GUN
                            DIGEST BOOK OF COMBAT HANDGUNNERY by J. Lewis and J.
                            Mitchell (Northfield, IL 1983). Quote from p. 117:“His research and personal
                            experience in self-defense firearms training make [Kapelsohn] one of the most
                            qualified people in the business.”

                           EMANUEL KAPELSOHN interviewed on subject of firearms self-defense
                            on ABC Television show “What’s Up, America?” (1980 and re-run)

                           “Midland Park Hires Weapons Specialist,” The Sunday News (Ridgewood,
                            NJ. March 1984)

                           “Firearms Trainer to be Hired,” Suburban News (Wayne NJ. March 21, 1984)

                           “Midland Park Will Hire Firearms Pro for 9mm Courses,” The Northwest News
                            (Midland Park, NJ. March 22, 1984)

                           “Gun Expert Rated High,” The Sunday News (Ridgewood NJ. April 8, 1984)

                           “Crime Rise Has Women Taking Up Arms,” The Times (Trenton NJ.
                            March 10, 1985)

                           “Union Launches Training Program to Upgrade Skills for Police,” The
                            Star-Ledger (Newark, NJ. November 20, 1985)

                           Guest Instructor Appreciation Award, International Police Academy,
                            Master Instructor Seminar (1985)

                           “Gun Law Won’t Stop Terrorists,” The Times (Trenton, NJ. May 20, 1986)
                           “Expert Hits Police Training,” The Lawrence Ledger (Lawrenceville, NJ.
                            October 24, 1986)

                           “Lawrence Resident’s Love of Firearms Becomes Career,” The Star-Ledger
                            (Newark, NJ. December 12, 1986)

                           “Committee Takes Aim at Detector-Proof Guns,” The Star-Ledger (Newark, NJ.


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                            December 12, 1986)

                           “Gun Lobbyists Oppose Passage of Bill to Ban Non-Metal Guns,” The Times
                            (Trenton, NJ. December 12, 1986)

                           “Plastic Gun Bill Demolished by Expert’s Testimony,” NRA Monitor
                            (Washington, D.C. Vol. 14, No. 1 January 15, 1987)

                           “Detection Systems, Not Guns Should Be Focus of Legislation, Says Firearms
                            Expert,” NRA Monitor (Washington, D.C. Vol. 14, No. 3 February 15, 1987)

                           “Using Training Consultants” by Bill Clede, Law and Order (March 1987)

                           “Taking Humanistic Approach to Firearms,” Newsday (New York, NY.
                            July 20, 1987)

                           “New Yorkers Learn to Protect Themselves at Gun School,” The New York
                            Times (New York, NY. July 20, 1987)

                           “Citizens Learn to Shoot in Face of Crime,” The Sun (Melbourne, Australia.
                            August 1, 1987)

                           “New York’s Itchy Trigger Finger,” The Advertiser (South Australia.
                            July 31, 1987)

                           “Bill Banning Plastic Guns Debated,” (Associated Press AAA wire release
                            under this or similar title, July 28, 1988, describing Emanuel Kapelsohn’s
                            Senate Judiciary Committee subcommittee testimony, printed on July 29 in
                            hundreds of U.S. newspapers, including the following:

                                   Alexandria, LA Daily Town Talk
                                   New Haven, CT Register (continued, next page)
                                   Dayton, OH News/Journal Herald
                                   Wilmington, NC Star
                                   Cheyenne, WY Eagle
                                   Delaware, OH Gazette
                                   August, GA Herald
                                   Bennington, VT Banner
                                   Johnstown, PA Tribune-Democrat
                                   Erie, PA News
                                   Lynchburg, VA News and Daily Advance
                                   Bluefield, WV Telegraph
                                   Mattoon, IL Journal-Gazette
                                   Casper, WY Morning Star Tribune
                                   Belleville, IL News-Democrat
                                   Newark, OH Advocate
                                   Anchorage, AK News
                                   Kenton, OH Times
                                   Canton, OH Repositor


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                                  Waterbury, CT American
                                  East Liverpool, OH Review
                                  FT. Walton Beach, FL Playground News
                                  Vero Beach, FL Press-Journal
                                  Modesto, CA Bee
                                  Vallejo, CA Times-Herald
                                  Newport News, VA Times-Herald
                                  Marysville, OH Journal-Tribune
                                  Paducah, KY Sun
                                  Toms River, NJ Observer
                                  Springfield, OH News-Sun
                                  Logan, OH News
                                  Piqua, OH Call
                                  Lawton, OK Press
                                  San Diego, CA Union

                           “Witness Upstages Metzenbaum at Hearings,” Gun Week (Buffalo, New York.
                            August 14, 1987)

                           “Neal Knox Report: Gun Bills Moving,” Shotgun News (Hastings, NE.
                            September 1, 1987)

                           “Kapelsohn Gets September Gun Rights Defender Award,” Point Blank
                            (Bellevue, WA September 1987)

                           “Firearms Expert Wins Person of the Month,” NRAction (Washington, D.C.
                            September 1987)

                           Selecting the Police Pistol by Doug Wicklund, The American Rifleman
                            (December 1987)

                           Mesa, Arizona: The IALEFI Convention by Tony Lesce, Arizona Police Officer
                            (Phoenix, AZ Winter 1988)

                           International Association of Law Enforcement Firearms Instructors Seventh
                            Annual National Training Conference by Chris Pollack, Special Weapons and
                            Tactics (March 1988)

                           Modern Techniques of Defensive Pistolcraft: An Exceptional Handgun Course
                            Taught by John Farnam and Emanuel Kapelsohn by Barrie Bergman,
                            Practical Shooting International (Emmetsburg, IA. March 1988)

                           “Hughes Goes Private With Hearing Witness,” Gun Week (Buffalo, NY.
                            January 8, 1988)

                           “ ‘Plastic Gun’ Ban Brewing,” NRAction (Washington, D.C. January 1988)

                           Gaping Holes in Airport Security by Peter Cary, U.S. News & World Report
                            (April 1988). Quote from page 28:


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                                  “Emanuel Kapelsohn, a police weapons expert, astonished a
                                  congressional subcommittee by demonstrating how guns could be
                                  smuggled through certain metal detectors . . .”

                           Police Defensive Handgun Use and Encounter Tactics by Brian A. Felter
                            (Prentice-Hall, Inc. Englewood Cliffs, NJ 1988). Quote from p. 6:

                                  “In defensive firearms training today, the information and defensive
                                  instructors exist -- five of the most talented being Massad Ayoob,
                                  Ray Chapman, John Farnam, Emanuel Kapelsohn, and Chuck Taylor --
                                  and from a resource pool of defensive information that the law
                                  enforcement community must make use of.”

                           “U.S. Firearms Consultant Due Next Week,” Trinidad Guardian (Port of
                            Spain, Trinidad. July 16, 1988)

                           Shooting Schools: A Second Look by James L. Winter (Albany, New York
                            1985). Quote from page 92: “API’s staff includes such nationally famous
                            personalities as . . . writer Manny Kapelsohn.”

                           An Overview of the Police Marksman National Advisory Board by Brian
                            McKenna. The Police Marksman (September/October 1988). Professional
                            biography of Emanuel Kapelsohn

                           “Semiautomatics or 6-shooters?” by Ken Valenti. Gannett Westchester
                            Newspapers. (Westchester County, N.Y. January 15, 1989)

                           “Gun Control Opponents Lock Horns With Graves” by Donna Leusner
                            (The Star Ledger, February 7, 1989)

                           Interviewed on “Geraldo” (Geraldo Rivera Show) NBC television, March 6,
                            1989, on subject of gun availability and gun control.

                           Seek Out the Expert by Joseph J. Truncale, Ph.D., The ASLET Journal (January/
                            February 1989). Quote from p. 12:

                                  “If you wish to know more about guns and shooting, talk to those who
                                  are recognized experts in this area. Massad Ayoob, Ray Chapman, John
                                  Farnam, Emanuel Kapelsohn, Dennis Tueller, along with many others,
                                  can guide you to schools and programs which are well known for their
                                  professionalism.”

                           Glock by Sgt. Paul Palank. Blue Line Police Magazine (March/April 1989).
                            Quote from p. 24:

                                  “The success that we in Miami have had with the Glock pistol is due
                                  not only to the advanced design of the weapon, but the “state of the
                                  art” instruction provided by Glock Incorporated in the forms of


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                                   Emanuel Kapelsohn (Peregrine Corporation) and Peter Tarley
                                   (Rockwell Corporation). The training provided by these gentlemen
                                   to the transitional training instructors superbly mated the Glock’s
                                   ingenious technology with their equally progressive training program.”

                           Glock Continues To Be An Innovator by E.B. Hulsey, Police Marksman
                            (March/April 1990). Quote from p. 58:

                                   “The instructor . . . was Emanuel Kapelsohn, who made the class a
                                   very interesting learning experience. Mr. Kapelsohn is an example of
                                   the quality instructors which Glock has retained to teach these courses.”

                           Glock Pistol: Perspective From The Field by Massad Ayoob. Guns
                            (September 1990). Quote from p. 77:

                                   “The best money you can spend on your Glock is for training. The firm
                                   retains Manny Kapelsohn, Peter Tarley, and Cathy and Jerry Lane for
                                   their police transition and armorer’s instruction programs . . . These
                                   are among the finest combat handgun trainers in America; Glock chose
                                   them well. I . . . believe that the superb training of these four master
                                   instructors has been more responsible for the Glock’s success in the field
                                   and in sales than most people realize.”

                           Emanuel Kapelsohn and Peregrine Corporation cited, quoted and acknowledged
                            in “Semi-Automatic Pistol Manual Safety Restrictions,” U.S. Border
                           (continued) Patrol Academy, Glynco, GA, presented at U.S. Marshal’s Service
                            Semi-Automatic - Revolver Handgun Symposium, Feb. 21-22, 1990. (Emanuel
                            Kapelsohn described as an “expert trainer” on p. 16.)

                           “Fearing Drug Wars, Suburban Police Swap 6-Shooters for Semiautomatics”
                            by B.J. Phillips. Philadelphia Inquirer (September 9, 1990)

                           Interviewed in “Entrevistas” column of Magnum. May-June 1991
                            (Caracas, Venezuela)

                           Peregrine Corporation training materials cited in published lesson plans of
                            Federal Law Enforcement Training Center (Glynco, GA) on semi-automatic
                            pistol training, clearing of pistol malfunctions, etc.

                           Emanuel Kapelsohn mentioned and quoted in study by Federal Law
                            Enforcement Training Center on instructor: student ratios for firearms training
                            (V. Atkins. Glynco, GA 1991)

                           Emanuel Kapelsohn and Peregrine cited as offering ‘a strong major in “how” and
                            a strong minor in “when” [to shoot] in “Deadly Force - When Is It Justified?”
                            by Massad Ayoob, Guns & Ammo’s Handguns for Home Defense, Vol. 9, No.
                            5 (1991)

                           “The Police Marksman Advisory Board” by Guy A. Rossi, Police Marksman


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                            (Jan./Feb. 1992). “Innovator, tactician, expert . . . [Emanuel Kapelsohn is]
                            considered one of the country’s leading authorities on semi-automatic,
                            long gun and submachine gun training . . .”

                           “IALEFI’S ATC” by Chris Pollack, SWAT (May 1993)

                           Appreciation Award, Calgary Police Service Tactical Unit (1993)

                           Appreciation Award, International Association of Law Enforcement
                            Firearms Instructors (“for your dedication, time and personal effort
                            towards the development of the Firearms Training Standards”) (1993)

                           “Newsclippings,” The Firearms Instructor, Issue 13 (1994)

                           “Shotgun Key In Acquittal of Garron,” Atlantic City Press, Nov. 13, 1994.
                            Quote:

                                   “They found the weapon’s safety device could disengage if it was
                                   merely brushed -- just as Emanuel Kapelsohn, the defense firearms
                                   expert, had testified, the jurors said.”

                           Glock, The New Wave in Combat Handguns by Peter Kasler (Boulder, CO
                            1992), page 296.

                           Acknowledged in Stealth (1989) and Extreme Prejudice (1991) by Guy
                            Durham (Putnam, New York)

                           Acknowledged in The Street Smart Gun Book by John Farnam (Police
                            Bookshelf, 1986)

                           Acknowledged in Handgun Stopping Power, The Definitive Study by Evan
                            Marshall and Ed Sanow (Paladin Press, Boulder 1992)

                           Acknowledged in The Farnam Method of Defensive Handgunning by
                            John S. Farnam (Seattle 1994): “These are the ones who have advanced
                            the art and prepared it to be passed to the next generation: Manny
                            Kapelsohn . . .”

                           “Modern Training, The Professional’s Edge” by Michael J. Scanlan,
                            Protection News, Vol. 11, No. 2 (Fall 1995), Internat’l Foundation of
                            Protection Officers, Bellingham, WA. Quote: “Manny Kapelsohn’s
                            obvious enthusiasm along with his vast knowledge of the subject
                            matter and genuine interest in imparting that knowledge to us,
                            stimulated our interests, motivated us to excel and created a learning
                            environment for the entire class.”

                           “Post-Training Dry Drills” by Det. Bill Kaiser, The Firearms Instructor,
                            Vol. 17 (1995)



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                           “IALEFI 1995 Training Conference” by C. Pollack, The Firearms Instructor,
                            Vol. 17 (1995)

                           “Gun Control and Economic Discrimination: The Melting Point Case-In-Point”
                            by Markus Funk, 85 Journal of Criminal Law & Criminology 764-806
                            (Northwestern U. School of Law, 1995): Emanuel Kapelsohn cited repeatedly
                            throughout article.

                           “IALEFI ‘95 Annual Training Conference” by C. Pollack, SWAT (June 1996)

                           “Search for qualified firearms instructor didn’t last very long,” Reading Eagle,
                            April 20, 1997, p. B1

                           “Sheriff, deputies begin targeting weapons training,” Reading Eagle,
                            April 20, 1997, p. B1

                           “Professional Firearms Instruction for the Protective Specialist” by Mike
                            Scanlan, Executive OPS International (Dec. 1997). Quote: “ . . . I contacted
                            Manny Kapelsohn, the world class firearms instructor and IALEFI Vice
                            President.”

                           Item in Business “Players,” Allentown Morning Call, January 4, 1999.
                             Quote: “Emanuel Kapelsohn of Bowers has been re-elected as Third Vice
                             President of the International Association of Law Enforcement Firearms
                             Instructors.”

                           “Kapelsohn is Re-Elected by Police Association,” Allentown Morning Call,
                            December 30, 1999.

                           “Degree of Guilt Decided for Smith,” The Inquirer, Philadelphia,
                            July 30, 1998, p. B1

                           Appreciation Award from Pennsylvania Municipal Police Officers’ Education &
                            Training Commission, for “outstanding contribution” toward the development,
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                           LOW-LIGHT SHOOTING by Emanuel Kapelsohn, Soldier of Fortune
                            (April 1986)

                           SPRINGFIELD ARMORY’S “NEW” 1911-A1 PISTOL by Emanuel Kapelsohn,
                            Special Weapons and Tactics, (SWAT) (April 1986)

                           PROGRESSIVE FIREARMS TRAINING by Emanuel Kapelsohn,
                            Security Management (February 1986)

                           STEYR’S SPACE-AGE AUG by Emanuel Kapelsohn, Gun Digest Book of
                            Assault Weapons (Chapter 4) J. Lewis, Ed. (DBI Books, Northbrook, IL 1986)

                           THE GLOCK STRIKES by Emanuel Kapelsohn, Guns Magazine Annual Digest
                            (1987 Vol. 33)

                           U.S. LAW ENFORCEMENT VS. TERRORISM: PUTTING A LID ON
                            VIOLENCE BEFORE IT STRIKES by Emanuel Kapelsohn, Terrorism
                            (September 1986)

                           FIREARMS OWNERS PROTECTION ACT AFFECTS AUTOMATIC
                            WEAPONS OWNERSHIP AND INTERSTATE TRANSPORTATION OF
                            FIREARMS by Emanuel Kapelsohn, The Police Marksman (July/August 1986)

                           THE MAGNIFICENT GLOCK 17 PISTOL by Emanuel Kapelsohn, The Police
                            Marksman (September/October 1986)

                           BORN IN THE USA: COLT REINTRODUCES THE SMG by Emanuel
                            Kapelsohn, Soldier of Fortune (March 1987)

                           THE GLOCK 17 9mm PISTOL by Emanuel Kapelsohn, Law and Order
                            (October 1986)

                           POWER FROM A DISTANCE: COLT’S NEW COUNTER-SNIPER RIFLE,
                            THE DELTA H-BAR by Emanuel Kapelsohn, Police (February 1987)

                           COLT 9mm SMG by Emanuel Kapelsohn, Police (February 1987)

                           PREVIEWING COLT’S NEW DELTA H-BAR: THE AR-15 COUNTER-
                            SNIPER RIFLE by Emanuel Kapelsohn, Special Weapons and Tactics
                            (SWAT) (February 1987)

                           FIELD TEST: SPRINGFIELD ARMORY 1911-A1 PISTOL by Emanuel
                            Kapelsohn, The Police Marksman (January/February 1987)

                           IALEFI by Emanuel Kapelsohn, The Police Marksman (Jan./Feb. 1987)

                           COLT’S 10mm DELTA ELITE: MAGNUM POWER IN AN AUTOLOADER
                            by Emanuel Kapelsohn, Police (August 1987)



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                           TRANSITIONAL HANDGUN TRAINING: SWITCHING TO SEMI-
                            AUTOMATICS by Emanuel Kapelsohn, Law Enforcement Technology
                            (May/June 1987)

                           1987 IALEFI NATIONAL TRAINING CONFERENCE SCHEDULED FOR
                            MESA, ARIZONA by Emanuel Kapelsohn, Law and Order (August 1987)

                           AN INSTRUCTOR’S LOOK AT DEA FIREARMS TRAINING by Emanuel
                            Kapelsohn, The Police Marksman (May/June 1988)

                           GLOCK 19: THE IDEAL 9mm FOR THE ONE GUN CONCEPT by Emanuel
                            Kapelsohn, The Police Marksman (September/October 1988)

                           RELOADING THE SEMI-AUTOMATIC PISTOL - PART ONE by Emanuel
                            Kapelsohn, International Association of Law Enforcement Firearms Instructors
                            Newsletter (February 1989)

                           COMBAT TEST: THE NEW GLOCK 20 by Emanuel Kapelsohn, Combat
                            Handguns (June 1990)

                           THE NEW 10mm GLOCK 20: MAGNUM POWER IN A DOUBLE-ACTION
                            SERVICE PISTOL by E. Kapelsohn, The Police Marksman (May/June 1990)

                           BERETTA 85F .380 PISTOL by Emanuel Kapelsohn, The Police Marksman
                            (November/December 1990)

                           THE UNIVERSAL COVER MODE, OR HOW TO NOT SHOOT PEOPLE
                            by Emanuel Kapelsohn, The Firearms Instructor (May 1991 and August 1991)

                           THE UNIVERSAL COVER MODE, OR HOW TO NOT SHOOT PEOPLE
                            by Emanuel Kapelsohn, reprinted in Newsletter of Georgia Association of
                            Law Enforcement Firearms Instructors, Vol. 1, Quarter 4 (Oct. 1991)

                           “Introduction to the Glock Pistol” videotape produced by The Peregrine
                            Corporation and featuring Emanuel Kapelsohn (48 mins., in police and
                            civilian versions) Glock, Inc., Smyrna, GA 1991

                           GLOCK PREVENTIVE MAINTENANCE MANUAL by Emanuel
                            Kapelsohn (Glock, Inc., Smyrna, GA 1991)

                           FIREARMS TRAINING STANDARDS FOR LAW ENFORCEMENT
                            PERSONNEL (IALEFI, Laconia, NH 1993). E. Kapelsohn, principal
                            author and editor

                           GIVING THE COMMAND TO HOLSTER by Emanuel Kapelsohn
                            The Firearms Instructor (Winter 1993)

                           STANDARDS & PRACTICES REFERENCE GUIDE FOR LAW
                            ENFORCEMENT FIREARMS INSTRUCTORS, E. Kapelsohn, Associate


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                            Editor (IALEFI, Laconia, NH 1994)

                           SMITH & WESSON SIGMA by E. Kapelsohn, Law & Order (Oct. 1994)

                           GLOCK MODELS 26 & 27 SUBCOMPACT PISTOLS by Emanuel Kapelsohn,
                            Police Marksman (Nov./Dec. 1995)

                           IALEFI APPROVES ITS FIRST TARGET - THE IALEFI-Q by Emanuel
                            Kapelsohn, The Firearms Instructor, Vol. 17 (1995)

                           WHAT’S IN A TARGET? INTRODUCING THE IALEFI-Q by Emanuel
                            Kapelsohn, Police Marksman (May/June 1996)

                           P95: INTRODUCING RUGER’S FIRST POLYMER-FRAME SERVICE
                            PISTOL by Emanuel Kapelsohn, Police Marksman (July/August 1996)

                           P239: SIG’S NEW COMPACT 9mm PISTOL by Emanuel Kapelsohn,
                            Police Marksman (July/August 1996)

                           RAPID ACQUISITION TARGETING SYSTEMS LASER SIGHT
                            by Emanuel Kapelsohn, Police Marksman (July/August 1997)

                           “IALEFI Handgun Safety Check” videotape, written by and featuring
                            E. Kapelsohn, produced by North Carolina Justice Academy (IALEFI 1997)

                           IALEFI HANDGUN SAFETY CHECK booklet, Emanuel Kapelsohn,
                            principal author (IALEFI 1998)

                           FIELD TEST: SPEER GOLD DOT 125-GRAIN .38 SPECIAL AMMUNITION
                            by Emanuel Kapelsohn, Police Marksman (March/April 1998)

                           THE PATROLLER POLICE VEHICLE by Emanuel Kapelsohn,
                            Law & Order (March 1998)

                           FBI INSTITUTES NEW CONTROLS FOR SCENARIO TRAINING
                            by Emanuel Kapelsohn, The Firearms Instructor, Issue 26 (1999)

                           SAFETY TIP by Emanuel Kapelsohn, The Firearms Instructor, Issue 26 (1999)

                           FOR GUN SAFETY, STICK TO FOUR RULES, BUT WATCH OUT FOR
                            THE FOUR MYTHS by Emanuel Kapelsohn, Allentown Morning Call,
                            (October 22, 1999)

                           Handgun Shooting Fundamentals section, Basic Police Academy
                            curriculum lesson plan, Pennsylvania Municipal Police Officers
                            Education and Training Commission. Emanuel Kapelsohn, author (2000)

                           THE FIREARMS INSTRUCTOR’S RANGE BAG by Emanuel Kapelsohn,
                            The Firearms Instructor, Issue 29 (2000)


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                           FIELD TEST: SIGARMS SSG3000 TACTICAL PRECISION RIFLE by
                            Emanuel Kapelsohn, Police Marksman (July/August 2000)

                           IALEFI Q-TARGET UPDATE by Emanuel Kapelsohn, The Firearms Instructor,
                            Issue 30 (2001)

                           PARA-ORDNANCE LDA PISTOL ARMORERS MANUAL (2001 and rev.)

                           PARA-ORDNANCE LDA FIREARMS INSTRUCTOR NOTEBOOK (2001)

                           KIMBER PISTOL ARMORER’S NOTES (2001)

                           KIMBER PISTOL INSTRUCTOR WORKSHOP NOTEBOOK (2001)

                           GUIDELINES FOR SIMULATION AND “FORCE ON FORCE” TRAINING
                            (Draft, IALEFI, Gilford, NH 2001). Emanuel Kapelsohn, principal author.

                           AVOIDING TRAINING DEATHS: SAFETY CONSIDERATIONS IN ROLE
                            PLAYING EXERCISES by Emanuel Kapelsohn, The Firearms Instructor, Issue
                            31 (2002)

                           REDMAN PROVIDES SIMULATION TRAINING POSTER by Emanuel
                            Kapelsohn, The Firearms Instructor, Issue 32 (2003)

                           Contributor to RedMan Firearms Simulation Safety Poster (2003)

                           Bobcat Weapons BW-5 Operator’s Manual. Emanuel Kapelsohn, author. (2004)

                           FIREARMS TRAINING STANDARDS FOR LAW ENFORCEMENT
                            PERSONNEL (IALEFI, Gilford, NH 2004 Rev.). E. Kapelsohn, principal
                            author

                           IALEFI GUIDELINES FOR SIMULATION TRAINING SAFETY. E.
                            Kapelsohn, principal author. (IALEFI, Gilford, NH 2004)

                           “More First Hand Information,” by Emanuel Kapelsohn. The Gun Zone.
                            http://www.thegunzone.com/ayoob/magliato-kapelsohn.html

                           COURSES OF FIRE – PENNSYLVANIA BASIC HANDGUN
                           QUALIFICATION COURSE by Emanuel Kapelsohn, The Firearms Instructor,
                           Issue 42 (2007). Also reprinted in excerpted form in Pennsylvania MPOETC
                           Training Bulletin, Fall 2007.

                           QUALIFICATION COURSES OF FIRE: PENNSYLVANIA’S ADVERSE
                           LIGHT QUALIFICATION COURSE by Emanuel Kapelsohn, The Firearms
                           Instructor, Issue 44 (2008).

                           GETTING AND STOCKING A “GO BAG” by Emanuel Kapelsohn, The


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                           Firearms Instructor, Issue 53 (2012).

                           “Banning Assault Weapons Won’t Make Nation’s Schools Safer” by E.
                           Kapelsohn, Allentown Morning Call, Op-Ed, January 6, 2013

                           “No Prepping,” Letter to the Editor, HANDGUNS Magazine, April/May 2014.

                           “The Glock Model 43: New 9mm Micro-Pistol,” by Emanuel Kapelsohn.
                            Law and Order magazine, August 2015.

                           “There Are No Safe Guns,” by Emanuel Kapelsohn. The Firearms Instructor,
                            Issue 58 (2016)

                           “Pennsylvania State Police Firearms Instructor Criminally Charged in Training
                            Death of Trooper,” by Emanuel Kapelsohn. The Firearms Instructor, Issue 58
                            (2016)

                            “Baltimore Police Firearms Instructor Convicted of Reckless Endangerment in
                            Accidental Shooting During Simunitions Training,” by Emanuel Kapelsohn.
                            Anticipated publication date: The Firearms Instructor, Issue 59 (2017)

                           “Civilian Response To Active Shooter Events,” by Emanuel Kapelsohn, Network
                            Magazine, January 2017

                           “For the Record” (letter to the Editor concerning the Yanez shooting incident and
                            trial. Concealed Carry Magazine, August/September 2017. Vol. 14, Issue 6.

                           “Safety With Dropped Guns” by Emanuel Kapelsohn, IALEFI Press-Check
                            (2021) and PA MPOETC Newsletter.

                           “To Score Or Not To Score: That Is The Question” by Emanuel Kapelsohn,
                           The Press Check, IALEFI (2021)

SELECTED LIST
OF AGENCIES
TRAINED AND
COURSES TAUGHT:

                           Basic Pistol and Special Pistol courses, American Pistol Institute
                            (Paulden, AZ 1980-1982): staff instructor.

                           Firearms Safety, Basic Handgun and Defensive Handgun courses,
                            U.S. Treasury Department Pistol Club, New York, NY (1980-1983).

                           Defensive Handgun Training, The Spiesman Agency, New York, NY
                            (1980-83): provided handgun training for detective agency.

                           Defensive Handgun Training and Qualification, Danbee Investigations
                            (New Jersey 1983): provided handgun training for detective agency


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                            personnel.

                           Officer Survival Instructor Course. Massachusetts Criminal Justice Training
                            Council. (1984): taught the firearms portion of this instructor-level course.

                           Close-Range Handgun Techniques: Sampson Technical College, Clinton,
                            NC (1984). Taught this defensive handgun class.

                           Borough of Midland Park Police Department (NJ 1985): conducted semi-
                            automatic pistol transitional training for this department.

                           Union County (New Jersey) Prosecutor’s’s Office (Senior Firearms Instructor
                            Course. 1985): co-instructed three separate week-long courses for firearms
                            instructors from every police department in Union County under contract with
                            Rockwood Corporation, Police Training Division.

                           International Police Academy - Master Instructors Seminar (Morell,
                            Desmedt, et al.): guest instructor (Toms River, NJ 1986)

                           Connecticut State Police Academy. (Senior Firearms Instructor Course.
                            Meriden, CT, 1986 and 1988): guest instructor under contract with Rockwood
                            Corporation, Police Training Division.

                           NRA Law Enforcement Firearms Instructor School (U.S. Marine Base,
                            Quantico, VA 1986): instructor.

                           Hilltown Township Police Department (PA 1986): conducted semi-automatic
                            pistol transitional training for this department.

                           Glock Familiarization Course, Middlesex County, NJ 1987: taught a one-day
                            familiarization course for police firearms instructors from multiple agencies.

                           1987 Glock International Training Symposium. (Kansas City, Kansas): headed
                            a team of four instructors in conducting this training conference for some 70
                            participants.

                           Police Counter-Sniper Rifle Course. (Fort Dix, New Jersey 1987): co-instructed
                            this course for police and military counter-snipers.

                           Borough of Ramsey Police Department (NJ 1987): conducted semi-automatic
                            pistol transitional training program for this department.

                           International Association of Law Enforcement Firearms Instructors (IALEFI),
                            National Training Conferences (see above): conducted instructor-level
                            programs on Drawing the Handgun and Close-Range Shooting Techniques
                            (Philadelphia 1985); Dim Light Shooting Techniques, and Combat Shotgun
                            Characteristics (Orlando, FL 1986); Tactical Use of Cover (Mesa, Arizona
                            1987); Dim-Light Assault Rifle and Shotgun Techniques, and Semi-Automatic
                            Pistol Transitional Training (St. Augustine, FL 1988); Dim-Light Shotgun and


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                            Rifle Techniques (Salt Lake City 1989); Concealed Carry Handgun, Auto-
                            Pistol Transitional Training, Dim-Light Handgun and Shotgun, and Police
                            Handgun Caliber Selection and Effectiveness (panel) (Washington, D.C. 1990);
                            Firearms Safety; Involuntary Muscular Contraction and Unintentional
                            Discharge (co-instructed with Dr. Roger Enoka) (Mesa, AZ 1991); Developing
                            Dynamic Training Exercises for the Patrol Officer (co-instructed with Peter
                            Tarley) (Tampa, FL 1992); Development of Dynamic Training Exercises for
                            Patrol Officers (co-instructed with Peter Tarley) (Reno, NV 1993); Dynamics
                            of a Gunfight (Orlando, FL 1994); Training Handgun Skills (Amarillo, TX ’95).

                           Basic and Advanced Defensive Handgun Courses (1982-1993): co-instructed
                            (with John Farnam) courses in locations including Fort Mead (MD),
                            Norristown (PA), Ledgewood (NJ), Berkeley Township (NJ), Princeton
                            Junction (NJ), Pipersville (PA), Dutchess County (NY), New York City (NY),
                            Salt Lake City (UT), Bradford (RI), Elroy (WI), East Stroudsburg (PA), and
                            Atlantic City (NJ).

                           New Jersey Armored Motor Carriers Association (1987): guest speaker on
                            subject of firearms training for the armored car industry.

                           Defensive Shotgun Course (East Stroudsburg, PA 1987).

                           Armored Motor Service Corp. (Trenton, NJ 1985-88): conducted handgun
                            training and qualification.

                           Princeton Armored Service (Trenton, NJ 1986-1990): conducted handgun
                            training and qualification.

                           Eastern Armored Service (Trenton, NJ 1991-1997): conducted handgun
                            training and qualification.

                           Berkleigh Career School (East Brunswick, NJ 1988-1989): conducted firearms
                            training program for security officer trainees.

                           NRA Law Enforcement Semi-Automatic Pistol Seminars. Helped to design,
                            and served as chief instructor for these courses taught at U.S. Marine Base,
                            Quantico, VA (1987); Florida Law Enforcement Training Center at Lively
                            (1988); Oklahoma City Police Academy (1988); Port Huron, Michigan (1988);
                            and Alamo Area Law Enforcement Academy, San Antonio, TX (1988).

                           Miami (FL) Police Department (Firearms Instructor Course, 1987): trained
                            MPD firearms instructors as part of this agency’s transition from revolver to
                            semi-automatic.

                           New Jersey Department of Environmental Protection, Bureau of Law
                            Enforcement (Firearms Instructor Workshop, 1987): trained NJDEP instructors
                            for this agency’s transition from revolver to semi-automatic.

                           National Armored Car Association (Annual Meeting. New York, NY 1987):


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                            guest speaker on subject of current trends in firearms training and training-
                            related liability.

                           Atlantic City Police Academy. (Police Handgun Instructor Workshop, 1987.
                            Police Shotgun Instructor Workshop, 1987. Police Special Weapons Course,
                            1987. Glock 17 Familiarization Course, 1987).

                           New Jersey Correctional Officers Training Academy, Training Advisory Council
                            (1988): guest speaker on progressive firearms training and training liability.

                           Jacksonville (FL) Police Department (Firearms Instructor Course, 1988):
                            conducted handgun and shotgun instructor course.

                           Tennessee Bureau of Investigation (Firearms Instructor Course, 1988):
                            trained TBI firearms instructors in preparation for agency’s transition
                            from revolver to semi-automatic pistol.

                           Metropolitan Toronto Police (Auto-pistol Workshop. Toronto, Canada 1988):
                            conducted transitional pistol training for members of this agency’s police
                            academy, Emergency Task Force, and dignitary protection unit.

                           NRA Annual Meeting (Orlando, FL 1988): guest speaker before the
                            Legislative Affairs Committee and the opening session of the General Meeting.

                           Burlington County (NJ) Police Academy (Semi-Automatic Pistol Instructor
                            Workshops, 1985-1987; Shotgun Instructor Workshop, 1987; Officer Survival
                            Course, 1988; Firearms Instructor Update, 1991).

                           Atlantic City Police Department (Firearms Instructor Course, 1988): trained
                            ACPD instructors to conduct agency’s transition from revolvers to pistols.

                           Professional Conference, “Law and Management in the Security Industry.”
                            University of the West Indies, St. Augustine, Trinidad. July 1988. Featured
                            guest lecturer on topic “Current Trends in Firearms Training.”

                           New Jersey Department of Corrections (1988): conducted semi-automatic pistol
                            survey course as part of this agency’s process of selecting a service pistol.

                           Takoma Park Police Department (Maryland, 1988): conducted instructor-level
                            transitional training course.

                           Police Counter-Sniper Rifle Course (Glastonbury, Connecticut. 1988):
                            co-instructed this course for police counter-snipers.

                           SWAT Team Training Course. (Cape May County Police Academy, 1988):
                            conducted tactical team training in handgun, shotgun, assault rifle, and
                            submachine gun.

                           Lecture presentation: “Police Use of Lethal Force: Legal and Tactical


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                            Considerations.” Emanuel Kapelsohn and Sgt. Evan Marshall. (Mt. Laurel,
                            New Jersey. 1988).

                           Jacksonville (Florida) Police Department (Firearms Instructor Workshop, 1988):
                            conducted transitional training instructor course preliminary to this agency’s
                            switch to semi-automatic pistols.

                           Conducted Glock Armorer Courses in Atlantic City, Boston, Sacramento,
                            San Francisco, San Diego, Carson City (Nevada), Washington, Chicago,
                            Trenton, New York City, Philadelphia, Indianapolis, Baltimore, Spokane,
                            Atlanta, Greensboro, Carlisle (PA), Phoenix, Oklahoma City, Seattle,
                            San Antonio, Jersey City, St. Thomas, Barbados, Billings (MT), Springfield
                            (MO), Wenatchee (WA), Jersey City (NJ), Bergen County (NJ) Police
                            Academy, Wyandotte (MI), Essex County (NJ) Police Academy, Overland
                            (MO), Irvington (NJ) Police Department, San Antonio (TX), Miami (FL), South
                            Carolina Justice Academy, North Carolina Justice Academy, St. Petersburg
                            (FL), Jacksonville (FL), Toronto, Barbados, Chapin (SC), Smyrna (GA),
                            Louisiana State Police Academy, and other locations (1987-1993).

                           Conducted Glock Firearms Instructor Workshops for/at Fulton County Sheriff’s
                            Office (NY), Yellowstone County Sheriff’s Office (MT), Middlesex County
                            (NJ) Police Academy, Bergen County (NJ) Police Academy, El Cajon (CA)
                            Police Department, Barbados Police Service, St. Petersburg (FL) Police
                            Department, North Platte (NE) Police Department, Overland (MO), Chapin
                            (SC), Essex County (NJ) Police Academy, Springfield (MO) Police
                            Department, Wenatchee (WA), Spokane (WA) Police Academy, Snohomish
                            County (WA) Sheriff’s Office, Louisiana State Police Academy, Jersey City
                            (NJ) Police Department, Smyrna (GA), and others (1987-1993).

                           Conducted Glock Armorer Classes and Glock Firearms Instructor Workshops at
                            Glock facility in Smyrna, Georgia, 1988-1993 (multiple classes).

                           Massachusetts Metropolitan Police (Boston, Massachusetts. 1988): trained
                            firearms instructors to conduct this agency’s transition to semi-auto pistols.

                           Sacramento Municipal Utilities District (California, 1988): trained nuclear
                            security firearms instructors for Rancho Seco nuclear power facility.

                           American Society of Law Enforcement Trainers, Second Annual International
                            Training Seminar (Kansas City, Missouri. 1989): conducted instructor-level
                            workshop on concealed handgun draw techniques and close-range defensive
                            tactics.

                           Metropolitan Police (Washington, D.C., 1989): conducted two programs to
                            train firearms instructors and armorers to implement this agency’s transition to
                            semi-automatic pistols.

                           Camp Smith, NY (1989): Speaker at Westchester County Firearms
                            Instructors Seminar on Semi-Automatic Pistol Transitional Training.


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                            Topic: “Safety In The Transitional Training Program.”

                           Trenton (New Jersey) Police Department (1989): trained firearms instructors
                            and armorers to conduct agency’s transition to semi-automatic pistols.

                           New York Legal Aid Society (New York City, 1989?): co-instructed (with
                            Firearms Examiner D. Frangipani) firearms evidence lecture for attorneys.

                           Philadelphia Police Department (1989): trained firearms instructors and
                           armorers to conduct agency’s transition to semi-automatic pistols.

                           Trinidad-Tobago Police Academy (Port-of-Spain, 1990): presented firearms
                            instructor workshop in conjunction with handgun training program conducted
                            at Teteron Military Base.

                           Louisiana State Police Academy, Baton Rouge, LA (1990): conducted
                            submachine gun instructor school.

                           New York State Police (1990): performed a contract to conduct a series of
                            programs at five locations throughout New York State to train NYSP firearms
                            instructors to conduct agency’s transition to semi-automatic pistols.

                           IALEFI Regional Training Conference (Long Island NY. 1990): conducted
                            dim-light handgun training class.

                           Henrico County Police Department (Virginia, 1990): conducted two training
                            programs to prepare agency’s instructors to conduct transition to semi-
                            automatic pistols.

                           Virgin Islands Police Department (St. Thomas, 1990): conducted semi-
                            automatic pistol instructor training program.

                           Developed police shotgun armorer training program for O. F. Mossberg &
                            Sons, and conducted first Mossberg Shotgun Armorer Courses in Burbank,
                            Tacoma, Philadelphia, North Haven (CT), South Carolina Criminal Justice
                            Academy, North Carolina Justice Academy, Skokie (IL), Kansas City,
                            San Antonio, Louisiana State Police Academy, Salt Lake City, and other
                            locations (1990-1992). Course revised 2000, below.

                           Baltimore City Police Department (1990): conducted semi-automatic pistol
                            instructor training program.

                           Missouri State Highway Patrol (1990): presented training program to prepare
                            agency’s instructors to conduct transition to semi-automatic pistols.

                           Atlantic County’s Prosecutor’s Office: conducted Firearms Instructors
                            Recertification Course for all police firearms instructors in county (1990-2001)

                           Phoenix Regional Police Academy (1991): conducted armorer and semi-


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                            automatic pistol instructor training program.

                           Maryland National Capital Park Police (1991): conducted semi-automatic pistol
                            instructor training program.

                           IALEFI Regional Training Conference (Dutchess County, N.Y. 1991): taught
                            classes on cover mode and involuntary discharge; advanced shotgun techniques.

                           DSIP (Caracas, Venezuela. 1991): conducted firearms training program for
                            bodyguard detail of President of Venezuela, and for members of drug task force
                            and elite counter-terrorist unit.

                           Oregon State Police (1991): conducted training program to prepare agency’s
                            instructors to conduct transition to semi-automatic pistols.

                           Clients for which Mr. Kapelsohn has provided training and consulting
                            services, both domestically and abroad from 1983 through the present time,
                            include investigative agencies, executive protection details, armored car and
                            precious metal companies, corporations involved in newspaper publishing,
                            advertising, finance, pharmaceuticals, insurance, defense manufacturing,
                            mining, firearms and related products, steel, the movie/television industry,
                            and manufacturing industries; police departments, federal agencies, cities, and
                            state law enforcement training commissions.

                           Kutztown Jaycees (1991): conducted firearms safety and BB gun marksmanship
                            training class for 8-12 year olds.

                           Seattle Police Department (1991): conducted semi-auto pistol instructor program

                           American Society for Industrial Security (Schuylkill Valley Chapter, 1992):
                            presented lecture on current trends in security and law enforcement firearms
                            training.

                           NJ Department of Corrections, Glock 18 (select-fire pistol) Course for Witness
                            Protection Detail, Atlantic City Police Range (1992)

                           American Society of Law Enforcement Trainers Fifth International Training
                            Seminar (Milwaukee 1992): presented instructor-level classes on involuntary
                            muscular contraction and involuntary discharge.

                           IALEFI Regional Training Conference (Dutchess County, NY 1992): presented
                            lecture on training-related liability, documentation of training, and written
                            agency firearms policy.

                           IALEFI Regional Training Conference (Long Island, NY 1992): conducted
                            classes on tactical handgun and dim-light handgun.

                           Reading Area Community College (1992): Police Semi-Automatic Pistol
                            Instructor Workshop.


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                           National Tactical Invitational, Lewisberry, PA 1992: taught class, “Legal
                            Considerations in the Use of Deadly Force.”

                           Northeastern Berks Regional Police Department (1992): Semi-Automatic Pistol
                            Training Program.

                           Salt Lake County Sheriff’s Department (1992): trained armorers and firearms
                            instructors to conduct transition to semi-automatic pistols.

                           Tactical Shotgun Course (1993): Pleasantville (NJ) Police Range.

                           IALEFI Regional Training Conference (Nassau County, NY 1993): conducted
                            class on firearms-related liability, written departmental firearms policies,
                            and documentation of training.

                           Dallas Police Department (1993): conducted police firearms instructors course.

                           North Carolina Justice Academy, Statewide Firearms Instructors Conference
                            (1993): Presented classes: Involuntary Muscular Contraction & Unintentional
                            Discharge; Developing Dynamic Training Exercises for Patrol Officers.

                           Jacksonville (FL) Police Department (1993): conducted police firearms
                            instructors course.

                           Carnegie Mellon University Police Department (Pittsburgh 1993): conducted
                            transitional training program and handgun instructor workshop.

                           Calgary Police Service Tactical Unit (1993): taught special weapons course
                            including submachine gun, shotgun, rifle, and handgun.

                           Yardley, PA (1994): Instructed Defensive Handgun Course.

                           Guest Speaker on topic “Should I Carry a Gun?” at JCK Show, Las Vegas,
                            NV (June 1994).

                           Connecticut Police Academy, Meriden, CT. Co-instructed senior instructor
                            program “Selecting a Shoulder Weapon” (April 1994).

                           “Firearms Training Liability and Trends,” Lehigh Valley Chapter, American
                            Society for Industrial Security (1994).

                           Kutztown Police Department (1994): conducted handgun and shotgun
                            training.

                           Defensive Shotgun Courses, Pittsburgh, PA and Harvard, Mass. (1995).

                           Handgun training and qualifications, Eastern Armored Service (Trenton,
                            NJ 1994-1996).


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                           Guest speaker, Firearms Committee, Pennsylvania Municipal Police Officers
                            Education and Training Council (Hershey, PA 1995).

                           Connecticut Police Academy, Meriden, CT. Co-instructed Tactical Shotgun
                            Instructor course (1995).

                           “Trends in Police Firearms Training,” Pennsylvania Burglar and Fire Alarm
                            Association, Allentown, PA (1995).

                           Senior Firearms Instructor Course, Allentown Police Academy (PA 1995).

                           Defensive Handgun Course, Lehigh County District Attorney’s Office,
                            Allentown, PA (1996).

                           Firearms Instructor Recertification Course, Dallas Police Department, Dallas,
                            TX (1996).

                           Glock 19 Transition Courses, Princeton Armored Service, Trenton, NJ (1995-6)

                           Lecture: “Firearms Training-Related Liability,” Annual Conference, Arizona
                            Law Enforcement Firearms Instructors Association, Mesa, AZ (1996).

                           Firearms Safety Program, Cub Scouts of America, Topton, PA (1996).

                           Basic Personal Protection Handgun Courses, Topton (PA) Fish & Game
                            Association Range (1994-1996).

                           IALEFI Handgun Safety Check, IALEFI Regional Training Conference,
                            Philadelphia Police Academy (1996).

                           Legal and Practical Aspects of Firearms Self-Defense for Civilians, Muhlenberg
                            Township Recreation Department (1996-1997).

                           American Society of Law Enforcement Trainers Regional Training Conference,
                            Bergen County (NJ) Police Academy (1996): conducted instructor-level
                            courses on Tactical Handgun Skills; Dim-Light Handgun.

                           1996 IALEFI Annual Training Conference, Mesa, AZ. Co-instructed instructor-
                            level courses on Training-Related Liability; Safety and Use of Reactive Steel
                            Targets.

                           North Carolina Justice Academy Statewide Instructors Conference: conducted
                            instructor-level lectures on firearms safety, dim-light firing techniques, and
                            one-handed firearms manipulation (1997).

                           Berks County Sheriff’s Department: conducted revolver-to-semiautomatic pistol
                            transitional training for this 38-officer agency (1997).



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                           IALEFI Regional Training Conference (Oklahoma City Sheriff’s Office 1997):
                            conducted instructor-level program, “Developing Dynamic Range
                            Exercises for Patrol Officers.”

                           Berks County Sheriff’s Department: assisted in conducting in-service
                            handgun and shotgun training, remedial training, and qualification
                            (1997-2007, 2012).
                           IALEFI Annual Training Conference (Columbia, Missouri, 1997):
                            co-instructed instructor-level program, “Legal Liability Update”;
                            conducted IALEFI Handgun Safety Check for over 100 students;
                            chief safety coordinator for this 6-day conference involving some 500
                            participants (students, instructors, vendors) in day and night training
                            activities, displays, and competitions. Courses attended: see above.

                           Lehigh County (PA) District Attorney’s Office (1997): conducted
                            handgun training course.

                           Kutztown (PA) Police Department: conducted in-service handgun
                            and shotgun training and qualification (1997, 2000, 2001, 2002, 2003).

                           Harrisburg Area Community College: Co-instructed pilot judgmental use
                            of force class for Pennsylvania MPOETC (1998).

                           Allentown (PA) Kiwanis Club: Guest speaker on “Firearms Safety and
                            Self-Defense” (1998).

                           U.S. Department of Health & Human Services, Office of the Inspector
                            General. Training and consulting contract to assist agency in updating
                            its firearms training program for Special Agents (1998).

                           Northeastern Berks Regional Police Department (1998): Conducted handgun
                            and shotgun qualifications and remedial training.

                           Berks County Postmasters Association: Guest speaker on “Personal
                            Security” (1998).

                           Less Lethal 12-Gauge Impact Munitions User Certification Course
                            (Berks County, PA, 1998).

                           Camp Cadet, Oley, PA (1998): Firearms safety presentation for 10-14 year
                            olds at summer camp sponsored by Pennsylvania State Police.

                           O.C. Civilian Users Certification Courses: Conducted a series of courses for
                            employees and for security officers of Fortune 500 company (1998-2001).

                           IALEFI Annual Training Conference (West Palm Beach, FL, 1998): Presented
                            instructor-level program, “Designing and Using Performance Objectives in
                            Firearms Training”; conducted IALEFI Handgun Safety Check for over 100
                            students; chief safety coordinator for this 6-day conference involving some


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                            500 participants (students, instructors, vendors) in day and night training
                            activities, displays, and competitions. Courses attended: see above.

                           Harrisburg Area Community College: Assisted in presenting judgmental
                            use of force instructor certification course for Pennsylvania MPOETC (1999).

                           Police Patrol Rifle Users and Instructors Courses (Muhlenberg Twp. Police
                            Department 1999).

                           Presentations to Allentown, PA Chapter, American Inns of Court, on “Firearms,
                            Tactics and the Law” (Sept. 1999) and “Use of Experts in Firearms Cases”
                            (Oct. 1999).

                           IALEFI Annual Training Conference (Phoenix, 1999): Conducted IALEFI
                            Handgun Safety Check for over 100 students; chief safety coordinator
                            for this 6-day conference involving some 400 participants (students,
                            instructors, vendors) in day/night training classes, displays and competitions.

                           Allentown (PA) Police Academy: Basic Recruit Training Academy classroom
                            instructor on “Use of Force in Law Enforcement;” assistant range instructor in
                            firearms (1999-2007). “Laws of Arrest” and “Criminal Procedure” (2007).

                           Firearms Overview Course (Allentown Police Academy, 1999): presented
                            classroom and range program to researchers and doctors from University
                            of Pennsylvania (FICAP) study on gunshot injuries.

                           IALEFI RTC (Philadelphia Police Academy, 2000): taught two courses
                            on Tactical Shotgun.

                           Eddie Eagle Firearms Safety Program taught to approx. 120 children,
                            grades K through 2, at The Swain School (Allentown, PA, 2000).

                           Firearms Instructor Update (Pennsylvania State Police Academy, 2000):
                            presented instructor-level program for Pennsylvania Municipal
                            Police Officers Education and Training Commission.

                           2000 IALEFI ATC, Tampa, FL: conducted IALEFI Handgun Safety Check
                            for over 100 students; chief safety coordinator for this 6-day event involving
                            nearly 500 participants (students, instructors, vendors) in day and night
                            training activities, displays and competitions; taught Mossberg Shotgun
                            Armorer Certification Course.

                           Lehigh County (PA) District Attorney’s Office (2000): conducted training
                            course, “Introduction to Firearms for Prosecutors” (CLE accredited) at
                            Allentown Police Academy.

                           Mossberg Shotgun Armorer Certification Courses (North Haven, CT, 2000):
                            presented two courses for police and military armorers. Consultant to
                            Mossberg re. revision of Armorer’s Manual.


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                           “Legal and Practical Aspects of Firearms Self-Defense” (Topton, PA, 2000):
                            presented two courses at East Penn Outdoor Sportsmen’s Expo.

                           Eastern Armored Service (PA, 2000): conducted Glock pistol transitional
                            training for armored car personnel.

                           Mossberg Shotgun Armorer Certification Course (Fairfax, VA, 2000): taught
                           course for police armorers.

                           Guest Speaker at graduation dinner, Allentown (PA) Police Academy (2001)

                           Para-Ordnance LDA Pistol Armorer Certification Courses (Orange County, CA
                           and Oak Lawn, IL, 2001): taught courses for police and civilian armorers.

                           Para-Ordnance LDA Pistol Firearms Instructor Workshop (Oak Lawn, IL, 2001):
                            taught course for police firearms instructors in conjunction with agency’s
                            transition to this model of semi-automatic pistol.

                           Para-Ordnance LDA Pistol Armorer Certification Course, Rhode Island (2001).

                           Guest Speaker, “Firearms in the Home,” Allentown Rotary Club (2001)

                           Mossberg Shotgun Armorer Certification Course, Lisle, IL (2001): taught
                            course for police armorers.

                           Firearms Training and Qualification, Berks-Lehigh Regional Police Department
                           (PA, 2001). Conducted user-level training for this newly-formed agency with
                           pistol, shotgun, patrol rifle, and less lethal impact munitions.

                           Guest Instructor, Citizens Police Academy, Exeter Township Police Department
                           (PA, 2001). Presented demonstration/discussion of concealed weapons and
                            related topics.

                           Personal Protection Course, Carpenter Technology Corporation, Reading, PA
                            (2001). Taught personal protection course (including pepper spray and hand-
                            to-hand self defense) to executives of Fortune 500 company and their spouses.

                           Firearms Instructor Update (Northeast Counter-Drug Training Center, Ft.
                            Indiantown Gap, PA 2001): presented instructor-level program for
                            Pennsylvania Municipal Police Officers Education and Training Commission.

                           Tacoma Police Department (WA, 2001). Developed and taught Kimber Pistol
                            Armorer’s Workshop and Kimber Pistol Instructor Course for this agency.

                           Las Vegas Metro Police Department (NV, 2001). Taught Mossberg Shotgun
                            Armorer Certification Course.

                           Mossberg Shotgun Armorer Certification Courses (North Haven, CT 2001).


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                            Taught two armorer courses for O.F. Mossberg & Sons.

                           Mossberg Shotgun Armorer Certification Course (Utah County Sheriff’s Office,
                            UT 2001). Taught law enforcement armorer’s course.

                           “Legal and Practical Aspects of Firearms Self-Defense” (Topton, PA 2001):
                            taught course at East Penn Outdoor Sportsmen’s Expo.

                           Para-Ordnance LDA Pistol Armorer Certification Course (North Attleboro
                            Police Department, MA 2001).

                           2001 IALEFI Annual Training Conference, Reno, NV: conducted IALEFI
                            Handgun Safety Check for some 80 students; assistant safety coordinator for
                            this 6-day event involving nearly 400 participants; taught Mossberg Shotgun
                            Armorer Certification Course; panelist in panel discussion, “Point Shooting vs.
                            Aimed Fire.”

                           Presenter at Muhlenberg Twp. Police Dept. “Firearms and Home Safety” Class
                           (Temple, PA 2001): Lecture to mixed audience of adults and Boy Scouts.

                           Mossberg Shotgun Armorer Certification Course (Branson Police Department,
                            Branson, Missouri 2001). Taught law enforcement armorer’s course.

                           Mossberg Shotgun Armorer Certification Course, Fairfax, Virginia 2001. Taught
                            Law Enforcement armorer’s course to police and military personnel.

                           Para-Ordnance LDA Pistol Armorer Certif. Course (Southampton, PA 2001)

                           Mossberg Shotgun Armorer Certification Course, Massachusetts State Police
                            Headquarters, Framingham, MA 2002.

                           Mossberg Shotgun Armorer Certification Course, Clearwater Police Department,
                            Clearwater, FL 2002.

                           Beretta DAO Pistol Training Course and Use of Force Legal Issues Class,
                            Bloomsburg University Police Department, Bloomsburg, PA 2002: Trained and
                            certified university police department to carry firearms.

                           Mossberg Shotgun Armorer Certification Course, Linn County Sheriff’s
                            Office, Albany, Oregon 2002

                           Mossberg Shotgun Armorer Certification Course, Shawnee County Sheriff’s
                            Department, Topeka, Kansas 2002.

                           Para-Ordnance LDA Pistol Armorer Certification Course, Kansas Highway
                            Patrol, Emporia, Kansas 2002.

                           Citizen’s Police Academy, Exeter Township Police Department (PA),
                            Guest instructor, training segment on weapons concealability (2002-2004).


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                           Firearms Instructor Update, Berks County Sheriff’s Department,
                            Reading, Pennsylvania (2002)

                           Mossberg Shotgun Armorer Certification Course, New York City Police
                            Department, Ballistics Section (2002)

                           Introduction to Firearms for Juvenile Probation Officers, Allentown
                            Police Academy (2002)

                           Mossberg Shotgun Armorer Certification Course, Watertown Police Department,
                            Watertown, CT (2002)

                           Mossberg Shotgun Armorer Certification Course, Carol Stream, Illinois (2002)

                           2002 IALEFI Annual Training Conference, San Diego, CA. Chief safety
                            coordinator for this 6-day event involving over 300 participants in day and night
                            training activities, trade show, demonstrations and shooting competitions. Co-
                            instructed course on safety issues and procedures in simulation and role-playing
                            training exercises.

                           Mossberg Shotgun Armorer Certification Course, Martin County Sheriff’s
                            Office, Stuart, Florida (2002).

                           Mossberg Shotgun Armorer Certification Course, Fairfax, VA (2002).

                           Bureau of Alcohol, Tobacco & Firearms, Firearms Instructor Seminar, Orlando,
                            FL (2002). Guest Instructor.

                           Berks-Lehigh Regional Police Department, remedial dim-light training. (2003)

                           Guest Lecturer, University of Pennsylvania class, “Injury and the Public’s
                            Health,” School of Medicine/School of Public Health. Professor Charles
                            Branas, Ph.D. (2003)

                           Patrol Rifle Instructor Course, Reading, PA (2003)

                           Patrol Rifle Operator’s Course, Reading, PA (2003)

                           Bureau of Alcohol, Tobacco & Firearms, Firearms Instructor Seminar, San Diego
                            CA (2003). Guest Instructor.

                           Citizen’s Police Academy, Allentown Police Academy, Allentown, PA.
                            Instructor in Use of Force in Law Enforcement, Laws of Arrest (2003-5)

                           Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Orlando,
                            FL (2003). Guest Instructor

                           IALEFI Annual Training Conference, Orlando, FL (2003). Assistant range


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                            officer in Advanced Tactical Rifle class.

                           Mossberg Shotgun Armorer Certification Course. Rockland County (NY) Police
                            Academy (2003). Instructor.

`                          Firearms Instructor Recertification Course. Atlantic County, NJ (2002, 2003).
                            Instructor

                           Defensive Shotgun Course. Reading, PA (2003). Instructor

                           Firearms Instructor Updates/Requalifications. Berks County Sheriff’s
                            Department, Reading, PA (2003-2005).

                           Guest Instructor, Lehigh County Municipal Emergency Response Team
                            Training, DeSalles University (2004)

                           Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Orlando,
                            FL (2004). Guest Instructor

                           Patrol Rifle Instructors Course. Reading, PA (2004). Instructor

                           Patrol Rifle User’s Course. Reading, PA (2004). Instructor

                           Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Los
                            Angeles, CA (2004). Guest Instructor

                           IALEFI Annual Training Conference, Dayton, Ohio (2004). Taught class
                            “Legal Update for Firearms Instructors.”

                           Patrol Rifle/Shotgun Workshop. Reading, PA (2004). Instructor

                           Atlantic County Prosecutor’s Office, Firearms Instructor Update. Atlantic
                            County, NJ (2004). Presented 3-day range and classroom instructor update.

                           Lecture, “Firearms, Firearms Safety and Self-Defense,” Lions Club, Bowers, PA
                            (2004). Guest lecturer.

                           Defensive Handgun & Shotgun Class. Hellertown, PA (2004). Instructor

                           Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, San
                            Francisco, CA (2005). Guest Instructor

                           Tactical Team Commanders Course, Jefferson Township (NJ) Police
                            Department, for Fox Valley Technical College/ Team One Network,
                            Guest Instructor (2005).

                           Advanced Defensive Handgun Class. Hellertown, PA (Spring 2005). Instructor.

                           Firearms Safety and Tactics Workshop. Salisbury Township Police Department,


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                            Allentown, PA (2005). Instructor.

                           Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, San
                            Diego, CA (2005). Guest Instructor.

                           2005 IALEFI Annual Training Conference, Reno, NV. Co-instructed instructor-
                            level class on fast, accurate handgun shooting and target-focused fire.
                            Conducted Handgun Safety Check for approx. 100 new attendees. Chief
                            Safety Officer coordinating safety for this 6-day training conference, involving
                            over 400 attendees in classroom and firing range courses, firearms ompetition,
                            trade show with hands-on firearms demonstrations, etc.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Update. Atlantic
                            County, NJ (2005). Presented 3-day range and classroom instructor update.

                           O.C. (“Pepper Spray”) Users Courses (Pennsylvania 2005). Presented training
                            courses for security officers of major pharmaceutical manufacturer.
                            Patrol Rifle Operators Refresher Course (Berks County Sheriff’s Dept. 2005).

                           Advanced Defensive Handgun Course. Hellertown, PA. (Fall 2005). Instructor.

                           Defensive Handgun & Shotgun Training (Pennsylvania 2005, 2006, 2007, 2008,
                            2009). Presented a series of firearms training courses for security officers of a
                            major pharmaceutical manufacturer.

                           “Home Firearms Safety and Self-Defense” lecture/demonstration for 35th
                            Anniversary Charter Night, Lions Club, Bowers, PA (2006).

                           North Carolina 2006 Police Firearms Instructors Conference, North Carolina
                            Justice Academy (2006). Featured presenter: lectured to 250 law enforcement
                            firearms instructors on safety in simulation training; involuntary muscular
                            contraction and unintentional discharge of firearms; police deaths and
                            administrative gun handling safety considerations; and mental conditioning and
                            tactics in officer- involved shootings.

                           2006 IALEFI Annual Training Conference, West Palm Beach, FL. Moderator of
                            panel discussion, “Panel of Experts on Firearms Topics,” including techniques
                            for covering suspects at gunpoint, manipulation of manual safeties, use of
                            weapon-mounted lights, etc. Assisted in conducting Handgun Safety Check for
                            participants; monitored classes on Patrol Rifle, Concealed Carry Handgun.

                           Allentown Police Tactical Pistol League. Conducted training session for police
                            officers. (2006)

                           Patrol Rifle Workshop. Hellertown, PA. (2006)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2006). Presented classroom and range instructor update.



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                           IALEFI Regional Training Conference, Ocean City, Maryland (2006). “Tactical
                            Handgun Overview.” Featured instructor at regional police training conference.

                           “Use of Force in Law Enforcement.” Two classes; Kutztown Police
                            Department, Kutztown, PA (2007)

                           “Legal & Practical Aspect of Self-Defense with Firearms,” Hellertown, PA
                            (Winter 2007). Lecture/demonstration presentation to some 100 attendees.

                           “Use of Force Legal Concepts,” Reading, PA (2007). Conducted instruction on
                            principles of justification for use of force, etc. for Carpenter Technology
                            security officers.

                           Glock Pistol Transitional Training, Eastern Armored Services (2007).
                            Conducted transitional training classes for armored car personnel.

                           Pepper Spray User’s Course. Conducted pepper spray user training and
                            certification for corporate/industrial security officers. (2007)

                           IALEFI 2007 Annual Training Conference, San Antonio, TX. Assisted in
                            conducting handgun safety check for 175 firearms instructors.

                           “Police Involved Shootings – When the Smoke Clears,” Westchester County
                            Detectives Association, Yorktown Heights, NY (2007). Lecture presentation to
                            160 attendees on subjects including psychological and perceptual distortions
                            and stress reactions of officers involved in shootings; involuntary muscular
                            contraction and accidental discharge of firearms; liability and safety issues of
                            weapon-mounted lights and lasers; officer reluctance to fire; etc.

                           “Use of Force Legal Theory” class and “Glock Pistol User’s Class” conducted
                            for California University of Pennsylvania Police Department. (California, PA
                            2007). Consulted, and conducted classroom and range instruction for this
                            university police department in its adoption of a service pistol.

                           Legal & Practical Aspects of Self-Defense with Firearms, Hellertown, PA (Fall
                            2007). Lecture/demonstration presentation to 30 attendees.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2007). Presented 3-day firearms instructor update
                            (classroom and range) for approximately 30 police firearms instructors.

                           Pepper Spray User’s Course. Conducted pepper spray user training and
                            certification for corporate/industrial security officers. (2008, 2010)

                           Defensive Handgun, Shotgun and Use of Force Training (Pennsylvania 2008 -
                           2012). Conducted training for security officers of a major pharmaceutical
                           manufacturer.

                           2008 IALEFI ATC, Reno, Nevada. Conducted IALEFI Handgun Safety


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                            Check for approximately 125 shooters on range. Taught classes on “Shotgun
                            Instructor Skills.”

                           Defense Training International, Women’s Handgun Class. Rochester, Indiana
                            (2008). Served as adjunct instructor for this women-only class.

                           “Covering Suspects at Gunpoint and Involuntary Muscular Contraction.”
                            Training segment conducted for Greene County Sheriff’s Reserve (2008)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2008). Presented 3-day firearms instructor update
                            (classroom and range) for approximately 25 police firearms instructors.

                           Greene County Sheriff’s Department. Assistant range instructor for dim light
                            Handgun & rifle qualification; assisted in developing dim light rifle
                            qualification course; provided remedial instruction as needed. (2009-2012)

                           “How Close is Too Close?” Training segment conducted for Greene County
                            Sheriff’s Reserve (2009)

                           “Ammunition Inspection Procedures,” “Dry Practice Safety Procedures,” and
                           “Safety in Gun Cleaning” training segments conducted for Greene County
                            Sheriff’s Reserve (2009)

                           Indiana University (Bloomington, IN), Criminal Justice Department. Taught
                            3-credit senior seminar, “Police Use of Force.” (2009, 2010)

                           2009 Conference, International Law Enforcement Educators & Trainers
                            Association (Chicago, IL): taught course, “Bulletproofing Your Agency’s
                            Use of Force Policies.”

                           2009 IALEFI Annual Training Conference, West Palm Beach, Florida.
                            Conducted IALEFI Handgun Safety Check (range drills) for 70-plus
                            trainees; taught course, “Management and Investigation of Officer-Involved
                            Shootings” (two sessions).

                           Intermediate Defensive Handgun. Trained female student in defensive handgun
                            skills in intensive 2-day program. Hellertown, PA. (2009)

                           Remedial Handgun Training. Provided series of remedial training sessions for
                            two female law enforcement officers. (Indiana 2009)

                           Police Patrol Rifle Instructor Course, Reading, PA. (2009)

                           Prosecutor’s Training, “Police Use of Force,” Greene County, IN. (2009)
                            Developed and presented this mandatory training course for police from
                            agencies throughout the county.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.


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                            Atlantic County, NJ (2009). Presented 3-day firearms instructor update
                            (classroom and range) for approximately 35 police firearms instructors.

                           “Police Use of Force.” Citizens’ Police Academy, Linton Police Department,
                            Indiana (2010).

                           Firearms Safety & Home Firearms Storage Safety; Distinguishing Toy Guns and
                            Airguns from “Real” Guns; Dry Practice Safety Protocols; Drawing the

                           Handgun. Training segments conducted for Greene County Sheriff’s Reserve
                           (2010).

                           Moderator and Panelist, Panel Discussion: “Current Issues in Firearms & Tactics
                            Training, 2010 IALEFI Annual Training Conference, San Antonio, TX. Also,
                            conducted Handgun Safety Check for 120 first-time attendees.

                           Patrol Rifle Instructor & User’s Course, Reading, PA (2010).

                           Police Firearms Instructor Update, Allentown (PA) Police Academy (2010).

                           Prosecutor’s Training, “Police Use of Force Update,” Greene County, IN (2010)

                           “Use of Force Law & Policy,” Berks County (PA) Sheriff’s Department (2010)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2010). Presented two 3-day firearms instructor update
                            courses (classroom and range) for approximately 45 police firearms instructors.

                           Judgmental Use of Force Training. Designed and conducted a judgmental use of
                            force training program for law enforcement officers in Greene County, Indiana.
                            Program utilized FATS video simulator, firearms, OC spray, Taser, verbal
                            challenges, use of cover, verbalization with suspects and fellow officers,
                            preparing and debriefing after writing an incident report on one of the scenarios
                            the trainee experienced, etc. (Bloomfield, IN 2011).

                           Judgmental Use of Force Instructor Certification Class. Trained a cadre of
                            instructors to teach a judgmental use of force program, including the FATS
                            system, report writing, etc. (Bloomfield, IN 2011)

                           Clearing Handgun Stoppages. Training conducted for Greene County
                            Sheriff’s Reserve (2011).

                           One-handed Handgun Operation. Training conducted for Greene County
                            Sheriff’s Reserve (2012)

                           Police Use of Force, Citizens Police Academy, Linton, IN (2012)

                           Panelist, Use of Force “Panel of Experts” at 2012 ILEETA Conference, Chicago.



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                           Patrol Rifle Instructor Course, Berks County, PA (2012)

                           FATS Judgmental Firearms Training Program, Greene County, IN (2012).
                           Designed and helped to conduct FATS simulator training for law enforcement
                           officers from countywide agencies.

                           IALEFI 2012 Annual Training Conference, Nashville, TN. Taught class,
                           “The Firearms Instructor as Expert Witness.”

                           Live-Fire Decision Making Shooting Exercises, Greene County, IN (2012).

                           IALEFI Shotgun Master Instructor Development Progam, Monroeville, PA
                           (2012)

                           Firearms Instructor Update & Recertification, Atlantic County, NJ (2012)

                           Legal & Practical Aspects of Self Defense With Firearms. Hellertown
                           Sportsmen’s Association, Hellertown, PA (2012)

                           Police Explorers firearms training class. Berks County, PA (2012)

                           Berks County Sheriff’s Department training and qualification (2012)

                           North Carolina Justice Academy, Firearms Instructor Update. Lecture “Post
                            Shooting Procedures, Policies and Concerns” (2012). Presentation to 125
                            firearms instructors representing law enforcement agencies statewide.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2012). Presented two 3-day firearms instructor update
                            courses (classroom and range) for approximately 45 police firearms instructors.

                           2013 IALEFI Annual Training Conference, Mobile, AL. Conducted IALEFI
                            Handgun Safety Check for approx.. 90 attendees; Presented class:
                           “Encouraging Off-Duty Carry.”

                           Legal & Practical Aspects of Firearms Self-Defense. Hellertown, PA (2013)

                           IALEFI Regional Training Conference, Harrisburg Area Community College,
                            Piccola Law Enforcement Training Center. Conference Coordinator. Taught
                            courses, “Officer-Involved Shootings: Policies, Procedures & Concerns” and
                            “Lethal Force Confrontations Instructor.” Assisted in presenting Tavor Rifle
                            Armorer Level I Class. (2013)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2013). Presented two 2-day firearms instructor update
                            courses (classroom and range) for approximately 50 police firearms instructors.

                           Norfolk Southern Railroad Police Training Seminar, “Bulletproofing Your
                            Agency’s Use of Force Policy” and “Officer-Involved Shootings: Policies,


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                            Procedures and Concerns.” Brosnan Forest, SC (2014).

                           Deadly Force Expert Panel, 2014 ILEETA Conference, Lombard, IL. Panelist.

                           2014 IALEFI Annual Training Conference, Amarillo, TX. Conducted IALEFI
                            Handgun Safety Check for approximately 90 attendees; presented class “Using
                            Firearms Experts in Officer-Involved Shooting Cases.”

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2014). Presented two separate 2-day firearms instructor
                            update courses (classroom and range) for police firearms instructors county-
                            wide.

                           Police Patrol Rifle Instructor Course. Hosted by Allegheny Township Police
                            Department, Duncansville, PA. (2014)

                           2015 ILEETA Conference, Panelist, “Deadly Force Panel of Experts;” Panelist,
                           “Active Shooter Panel.” Wheeling, IL.

                           2015 IALEFI Annual Training Conference, West Palm Beach, FL. Taught two
                           classes for 76 students, “Training Gone Wrong.”

                           Police Firearms Instructor Course. Hosted by Martinsburg Police Department,
                            PA. (2015)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2015). Presented 2-day firearms instructor update
                            courses (classroom and range) for police firearms instructors county-wide.

                           Pilot program, “Police Use of Force,” Piccola Law Enforcement Training Center,
                            Harrisburg Area Community College (2015). Co-instructed this pilot program
                            for mandatory in-service training class to be presented in 2016 to approximately
                            25,000 police officers throughout the Commonwealth of Pennsylvania.

                           IALEFI Regional Training Conference, Freeport Police Range, Long Island, NY
                            (2015). Taught two instructor-level classes on current law enforcement use-of-
                            force issues and cases. Classes attended: see above.

                           MPOETC Instructor Training Class for 2016 Mandatory In-Service Training
                            (“MIST”) “Police Use of Force” Class. Co-instructed this instructor-training
                            class for the Pennsylvania MPOETC for approximately 40 instructors at the
                            Montgomery County Law Enforcement Training Center, Conshohocken, PA
                            (2015).

                           Basic Defensive Handgun Course, Hellertown, PA 2016.
                           “Deadly Force Panel of Experts” panelist, 2016 ILEETA Conference, Rosemont,
                            IL.

                           Moderator and Panelist, Panel Discussion, “Firearms Training and Use of Deadly


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                           Force,” 2016 IALEFI Annual Training Conference, Mobile, AL.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2016). Presented two 2-day firearms instructor update
                            courses (classroom and range) for police firearms instructors county-wide.

                           Civilian Response to Active Shooter Events (CRASE) Training, Lehigh Valley
                            Consortium of Professional Organizations (2016) Presented this Texas State
                            University program for approximately 40 attendees.

                           Use of Force and Firearms Training, Upper Macungie Township Police
                            Department, Pennsylvania. Provided classroom and range instruction for
                            this municipal police department (2016).

                           Firearms Instructor Workshop and Remedial Handgun Training for Northampton
                            County Sheriff’s Department, Pennsylvania (2016).

                           Rangemaster Tactical Conference, lecture presentation, “Use of Force Legal
                            Cases: Lessons Learned.” Little Rock, Arkansas (2017).

                           “Deadly Force Panel of Experts” panelist, 2017 ILEETA Conference, St. Louis,
                            MO.

                           “Patrol Rifle Panel” panelist, 2017 ILEETA Conference, St. Louis, MO.

                           North Carolina Justice Academy, IALEFI Regional Training Conference, lecture
                            presentation, “Officer-Involved Shootings: When Tiny Details Become
                            Critical,” 2017.

                           IALEFI 2017 Annual Training Conference, West Palm Beach, FL. Lecture
                            presentation, “Legal Update on Officer-Involved Shootings: The Expert
                            Witness Viewpoint.”

                           Armed Security Officers Training Program, Reading, PA. Classroom and range
                            training for two groups of armed security officers for Reading Hospital/Reading
                            Health System. (2017)

                           Patrol Rifle Instructor Course, hosted by Muhlenberg Township Police
                            Department, Reading, PA. (2017)

                           Firearms training and consulting for church security team. Berks and Lehigh
                           County, PA 2017-2021.

                           Use of force and firearms training and consulting for synagogue security team.
                           Lehigh County, PA 2017-2021.

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                            Atlantic County, NJ (2017). Presented firearms instructor update
                            course (classroom and range) for police firearms instructors county-wide (two


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                            classes) 2017.

                           “Deadly Force Panel of Experts” panelist, 2018 ILEETA Conference, St. Louis,
                            MO.

                           “Active Shooter Panel” panelist, 2018 ILEETA Conference, St. Louis, MO.

                           “Review of Recent Officer-Involved Shootings,” IALEFI ATC, Houston, TX
                            2018.

                           Patrol Rifle Instructor Course for Assistant Chief of Upper Macungie Township
                           Police Department, 2017-2018 (multiple sessions).

                           Pepper gel classes, taught for security team members of religious congregations.
                           (2018, 2019)

                           Class on tactical first aid, including use of Israeli battle dressings, tourniquets,
                           Combat Gauze, and occlusive dressings, taught for teachers and staff of
                           religious congregation. (2018)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                           Atlantic County, NJ. Presented two firearms instructor update courses
                           (classroom and range) for police firearms instructors county-wide (2018).

                           Pepper gel class, taught for employees and family members of professional firm.
                           (2018)

                           IALEFI ATC, West Palm Beach, FL (2019): Taught instructor-level course on
                           “Officer-Involved Shootings” to approximately 35 instructors.

                           Firearms training and tactical first aid classes, taught to security group of
                           religious congregation in Allentown, PA (2019)

                           Active Shooter/Left of Bang: Coordinated and assisted in two large lecture
                           presentations on these subjects at Trexlertown, PA, and at Harrisburg Area
                           Community College, Law Enforcement Training Complex for approximately 100
                           attendees each, with lead lecturer Don Alwes (2019).

                           Active Shooter/Left of Bang: Hellertown, PA. Hands-on active shooter response
                           class, Airsoft simulation scenarios and live fire training, co-instructed with Don
                           Alwes. (2019)

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                           Atlantic County, NJ. Presented firearms instructor update courses (classroom
                           and range) for police firearms instructors county-wide, two sessions (2019).

                           Active Shooter Preparation and Response: St. John’s Church on Morgan Hill,
                            Easton, PA. Presentation to Consistory Group (2019)



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                           Active Shooter Response and the Law: Presentation for Allentown Barrister’s
                            Inn (attorneys, prosecutors and judges). Pennsylvania CLE Credit-approved.
                            Barrister’s Club (2019)

                           “Firearms Safety, Legal Justification for Use of Force, and Policy” presented for
                           approximately 30 members of church security team. Allentown, PA (2020)

                           Pepper gel training, presented for staff and religious school teachers of a house of
                            worship. Allentown, PA (2020)

                           M4 Carbine Use of Cover and M9 Pistol Training for military personnel at Fort
                            Myer (Joint Base Myer – Henderson Hall), VA (2020)

                           Police Firearms Instructor Course, Berks County, PA. Hosted by Berks County
                            Sheriff’s Office. (2020)

                           Defensive Handgun and Patrol Rifle, Defense Training International, Sussex, NJ
                            October 2020. Assisted in teaching this course. (John Farnam, chief instructor)

                           Defensive Handgun Training/Qualification for members of house of worship
                            security team. Berks County (2020).

                           Police Firearms Instructor Course, Blair County, PA. Hosted by Martinsburg
                            Police Department (2020).

                           Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                           Atlantic County, NJ. Presented firearms instructor update courses (classroom
                           and range) for police firearms instructors county-wide, two sessions (2020).

                           Classroom and range defensive handgun training for security officers of a mining
                            operation. Pennsylvania (2021).

                           “Firearms Safety, Legal Justification for Use of Force, and Policy” presented for
                            approximately 35 members of church security team. Allentown, PA (2021)

                           “Training an Armed Congregant House of Worship Protective Team,” “Active
                            Shooter Discussion Panel” (panel member), and “Deadly Force Discussion
                            Panel” (panel member), ILEETA Annual Conference, St. Louis, MO (2021)

                           DTI Defensive Handgun Course, Sussex, New Jersey (2021). Served as an
                            Assistant Instructor in this 2-day program for 27 attendees.

                           Defensive Handgun for House of Worship Protective Team Members,
                            Allentown, PA. Lead instructor in two 3-day courses. (2022)

                           IALEFI Annual Training Conference, Las Vegas, NV (2022). Conducted Safety
                            Check for Attendees. Courses attended, see above.




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                           Use of Force Video Simulator Training. Conducted 3-day program providing
                            judgmental use-of-force training for 42 officers. Allentown, PA (2022)

                           Plus, numerous basic through advanced and remedial training sessions for
                           individual students and small groups, including private individuals, corporate
                           executives and dignitaries, executive protection personnel, security officers,
                           private investigators, military, federal agents and law enforcement officers at all
                           levels. (1978 to present)




REFERENCES:                Personal and professional references available on request.




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